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                                       Exhibit A

                          Detailed Statement of Hours and Fees




AMERICAS 126101258
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LORDSTOWN MOTORS CORP.
RE: Project Pickup                                                                                 OUR REF: 1902563-0002



For professional services for the period ending 31 December 2023




DATE                  DESCRIPTION                                                TIMEKEEPER         HOURS                   USD

Business Operations, Vendor & Utility Issues
7 December 2023       Call with A. Kroll, M. Leonard, M. Port (Company), S.      F He                  0.60                786.00
                      Kohler (Silverman) on various company/vendor issues.

11 December 2023      Call with A. Kroll, M. Leonard, M. Port (Company), S.      F He                  1.50            1,965.00
                      Kohler (Silverman) on various vendor/operational
                      issues (0.5); research re: vendor inquiry (0.5) and
                      response re: same (0.3); confer with M. Port
                      (Company) re: same (0.2).

13 December 2023      Analysis re: vehicle repurchase issues, including with     D Turetsky            0.50                875.00
                      respect to Port of San Diego (0.4); email to M. Leonard
                      (Lordstown) re: vehicle repurchase issues re: Port of
                      San Diego (0.1).

13 December 2023      Review vehicle repurchase motion, order, and               R Szuba               0.30                342.00
                      agreement in connection with client inquiry concerning
                      same (0.2); draft correspondence to D. Turetsky re:
                      same (0.1).

14 December 2023      Call with A. Kroll, M. Port (Company) and S. Kohler        F He                  0.70                917.00
                      (Silverman) re: various business issues (0.5); confer
                      with M. Port (Company) re: vendor issues (0.2).

14 December 2023      Review repurchase order, motion, and side letter re:       R Szuba               0.40                456.00
                      obligations to Foxconn (0.2); draft analysis re: same to
                      D. Turetsky (0.2).

15 December 2023      Emails to R. Szuba (W&C) and J. Green (W&C) re:            D Turetsky            0.40                700.00
                      vehicle repurchase issues (0.2); further analysis re:
                      issues re: same (0.2).

15 December 2023      Review and revise omnibus rejection motion (1.2);          F He                  1.90            2,489.00
                      confer with R. Szuba re: same (0.4); review and confer
                      with A. Crnkovich re: assumption motion schedule
                      (0.3).

15 December 2023      Draft correspondence and analysis to A. Kroll and M.       R Szuba               1.10            1,254.00
                      Leonard re: terms of vehicle repurchase (0.3); review
                      repurchase agreement (0.3); confer with counsel to
                      Foxconn re: same (0.2); draft correspondence to M.
                      Leonard re: same (0.1); draft correspondence and
                      analysis to D. Turetsky and J. Zakia re: same (0.2).

16 December 2023      Further analysis re: vehicle repurchase issues (0.2);      D Turetsky            0.30                525.00
                      email to R. Szuba (W&C) and J. Green (W&C) re:
                      same (0.1).

17 December 2023      Further analysis re: vehicle repurchase issues.            D Turetsky            0.20                350.00

18 December 2023      Email to R. Szuba (W&C) re: vehicle repurchase             D Turetsky            0.50                875.00
                      issues (0.1); review and comment re: vehicle



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DATE                   DESCRIPTION                                                 TIMEKEEPER         HOURS                   USD

                       repurchase agreement (0.4).

18 December 2023       Review agreement to buyback vehicles.                       J Zakia               0.30                525.00

18 December 2023       Call with A. Kroll, M. Port (Company) and S. Kohler         F He                  0.50                655.00
                       (Silverman) re: various business/vendor issues.

18 December 2023       Revise repurchase agreement for Port of San Diego           R Szuba               0.90            1,026.00
                       (0.6); draft correspondence with D. Turetsky and J.
                       Zakia re: same (0.2); draft correspondence to M.
                       Leonard re: same (0.1).

19 December 2023       Email to M. Leonard         (Lordstown)     re:   vehicle   D Turetsky            0.10                175.00
                       repurchase issues.

19 December 2023       Confer with M. Leonard re: vendor issues.                   F He                  0.20                262.00

19 December 2023       Draft correspondence to counsel to Foxconn re:              R Szuba               0.50                570.00
                       vehicle repurchase (0.2); draft correspondence to M.
                       Leonard re: same (0.1); revise vehicle repurchase
                       agreement agreement based on comments received
                       (0.1); coordinate execution of agreement (0.1).

SUBTOTAL: Business Operations, Vendor & Utility Issues                                                  10.90           14,747.00


Case Administration
4 December 2023        Confer with A. Kroll, M. Leonard, and M. Port               F He                  0.60                786.00
                       (Company) and A. Crnkovich and S. Kohler
                       (Silverman) re: various case issues and workstreams.

5 December 2023        Conduct weekly work in progress call with R. Szuba, L.      F He                  0.50                655.00
                       Mezei, P. Strom, J. Green, and J. Kim.

5 December 2023        Attend work in progress call with F. He, J. Green, J.       R Szuba               0.60                684.00
                       Yoo, L. Mezei, and P. Strom (0.5); review work in
                       progress tracker (0.1).

5 December 2023        Call with F. He, R. Szuba, J. Green and J. Yoo re:          P Strom               0.50                480.00
                       case matters.

12 December 2023       Call with F. He, R. Szuba, L. Mezei, J. Yoo, J. Greene,     D Kim                 0.60                762.00
                       and P. Strom re: ongoing case workstreams and
                       matters (0.5); review and provide comments to case
                       tracker (0.1).

12 December 2023       Update work in progress tracker (0.3); attend work in       L Mezei               0.80                816.00
                       progress call with F. He, J. Green, D. Kim, R. Szuba,
                       and others (0.5).

12 December 2023       Call with F. He, J. Green, D. Kim, R. Szuba, L. Mezei       P Strom               0.50                480.00
                       and J. Yoo re: case matters.

15 December 2023       Confer with M. Patterson (Womble) re: confirmation          F He                  0.70                917.00
                       hearing issues re: pending motions (0.3); review
                       hearing agenda and notice (0.4).



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15 December 2023     Review and provide comments to draft notice of            D Kim                 0.50                635.00
                     rescheduled dates (0.2); further revise updated
                     calendar and task list (0.3).

18 December 2023     Correspond with F. He re: outstanding tasks and           D Kim                 0.20                254.00
                     issues.

SUBTOTAL: Case Administration                                                                        5.50            6,469.00


Case Strategy
7 December 2023      Meeting with D. Ninivaggi (Lordstown) re: case            D Turetsky            0.40                700.00
                     strategy issues.

8 December 2023      Confer with client re: case strategy.                     J Zakia               0.50                875.00

11 December 2023     Confer with client re: case strategy.                     J Zakia               0.80            1,400.00

13 December 2023     Team call with R. Kampfner, R. Szuba re: case             D Kim                 0.30                381.00
                     updates and ongoing strategy.

13 December 2023     Attend call re: case strategy with R. Kampfner and D.     R Szuba               0.30                342.00
                     Kim (W&C).

SUBTOTAL: Case Strategy                                                                              2.30            3,698.00


Claims Administration & Objections
1 December 2023      Email to F. He (W&C) re: D&O indemnification claim        D Turetsky            0.40                700.00
                     issues    (0.1);    further   analysis re: director
                     indemnification claim issues (0.3).

1 December 2023      Review email to Creditors’ Committee re: claim            J Zakia               0.60            1,050.00
                     reserve (0.3) and review reserve documents (0.3).

1 December 2023      Confer with R. Szuba re: claim issues (0.2); review and   F He                  0.60                786.00
                     revise claim objection order (0.4).

1 December 2023      Confer with F. He re: omnibus claims objection (0.2);     R Szuba               1.50            1,710.00
                     prepare certificate of counsel, order, and exhibits re:
                     approving claims objection (0.3); draft correspondence
                     to J. Zakia, R. Kampfner and D. Turetsky re: claims
                     reserve (0.3); draft correspondence to P. Strom re:
                     claim reserve research and settlement research (0.3);
                     research re: claims reserve standard (0.2);
                     review/analysis re issues relating to correspondence
                     from F. Lawall re: claim reserve (0.2).

1 December 2023      Confer with J. Yoo (W&C) re: Ride class claims (0.3);     S Kaul                2.90            3,074.00
                     analyze Ride class action complaint (0.4); prepare
                     issues list re: same (0.2); draft argument outline re:
                     substantive objections to same (1.7); correspond with
                     J. Yoo and A. Padmanabhan (W&C) re: affirmative
                     defenses and outstanding research tasks (0.3).

1 December 2023      Confer with S. Kaul re: objection to RIDE claims (0.3);   J Yoo                11.20           11,424.00



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DATE               DESCRIPTION                                                  TIMEKEEPER            HOURS                   USD

                   confer with W&C team re: objection to RIDE claims
                   (0.8); conduct research in support of objection to RIDE
                   claims (5.9); draft objection to RIDE claims (4.2).

2 December 2023    Review and analyze earnings call transcripts cited in        S Kaul                   3.10            3,286.00
                   Ride complaint (0.8); correspond with J. Yoo and A.
                   Padmanabhan re: substantive objection to RIDE claim
                   outline (0.3); revise same to incorporate additional
                   defenses (0.9); revise draft substantive objection re:
                   alleged statements and omissions in Ride complaint
                   (1.1).

2 December 2023    Review correspondence from S. Kaul re: objection to          J Yoo                    1.70            1,734.00
                   RIDE claims (0.1); conduct further research in support
                   of objection to RIDE claims (1.6).

4 December 2023    Calls with J. Zakia (W&C) re: SEC settlement issues          D Turetsky               0.90            1,575.00
                   (0.3); conduct further analysis re: claims reserve
                   issues (0.2); email to J. Zakia (W&C) and R. Kampfner
                   (W&C) re: claims reserve issues (0.1); email to F. He
                   (W&C) re: omnibus claims objection issue and further
                   analysis re: same (0.1); further analysis re: SEC claim
                   issues (0.2).

4 December 2023    Multiple calls with D. Turetsky re: case strategy re         J Zakia                  0.70            1,225.00
                   SEC/securities litigation settlement issues (0.3); further
                   follow up re same (0.4).

4 December 2023    Draft correspondence to A. Kroll re: claims reserve          R Szuba                  0.60                684.00
                   amount (0.2); prepare certificate of counsel, order,
                   schedules and redlines for first omnibus claims
                   objection for filing (0.3); correspond with F. He re:
                   same (0.1).

4 December 2023    Confer with A. Padmanabhan and J. Yoo (W&C) re:              S Kaul                   0.70                742.00
                   outstanding research and draft objection to Ride
                   claims (0.3); review changes to draft substantive
                   objection to Ride class claims (0.4).

4 December 2023    Review correspondence re: objection to RIDE claims           J Yoo                    3.50            3,570.00
                   (0.3); further research in support of objection to RIDE
                   claims (2.8); confer with W&C team re: objection to
                   RIDE claims (0.4).

4 December 2023    Confer with S. Kaul and J. Yoo re: objections to certain     A Padmanabhan            1.50            1,110.00
                   proofs of claim (0.3); research case law re: same (1.2).

5 December 2023    Emails to F. Lawall (Troutman) and D. Kovsky                 D Turetsky               1.10            1,925.00
                   (Troutman) re: D&O claim issues (0.2); conduct further
                   analysis re: Rule 7023 class claim issues (0.2); call
                   with D. Baddley (SEC) re: SEC claim issues (0.5);
                   further analysis re: claims reserve issues (0.2).

5 December 2023    Confer with A. Padmanabhan and J. Yoo (W&C) re:              S Kaul                   1.70            1,802.00
                   claim objection check-in (0.5); review case law re:
                   materialization of risk (0.7); review fact research re:
                   historic stock price from A. Padmanabhan (0.2); confer
                   with A. Padmanabhan re: research questions re:
                   Exchange Act claims (0.3).



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5 December 2023    Confer with S. Kaul re: objection to RIDE claims (0.3);     J Yoo                    5.70            5,814.00
                   further draft objection to RIDE claims (3.7); conduct
                   factual research in support of objection to RIDE claims
                   (1.7).

5 December 2023    Research case law for objections to proofs of claim         A Padmanabhan            1.80            1,332.00
                   from various investor groups.

6 December 2023    Call with R. Kampfner (W&C) re: D&O indemnification         D Turetsky               2.90            5,075.00
                   claim issues (0.1); call with S. Dwoskin (Brown
                   Rudnick) re: D&O indemnification claims (0.5); emails
                   to S. Dwoskin (Brown Rudnick) re: D&O
                   indemnification claims (0.2); calls with J. Zakia (W&C)
                   re: SEC claim issues (0.3); call with D. Baddley (SEC)
                   re: SEC claim issues (0.1); call with D. Kovsky
                   (Troutman) re: director indemnification claim issues
                   (0.5); further analysis re: D&O indemnification claim
                   issues (0.2); call with D. Ninivaggi (Lordstown) re: SEC
                   claim issues (0.3); further emails to D. Kovsky
                   (Troutman) re: D&O indemnification claim issues (0.2);
                   emails to S. Peikin (S&C) re: SEC claim issues (0.4);
                   call with S. Peikin (Sullivan & Cromwell) re: SEC claim
                   issues (0.1).

6 December 2023    Review material (0.2) and confer with C. Tsitsis            F He                     0.40                524.00
                   (Silverman) (0.1) re: vendor claim issues; confer with
                   D. Turetsky re: claim objection question (0.1).

6 December 2023    Review correspondence from claimant re: notice and          R Szuba                  0.20                228.00
                   appointment of counsel (0.1); draft correspondence to
                   KCC re: same (0.1).

6 December 2023    Review and revise draft substantive objection to Ride       S Kaul                   2.20            2,332.00
                   class claims (1.7); correspond with A. Padmanabhan
                   re: outstanding research (0.1); research re: potential
                   claim issues (0.4).

6 December 2023    Draft objection to RIDE claim.                              J Yoo                    1.80            1,836.00

6 December 2023    Call with S. Kaul and J. Yoo re: claim objection (0.5);     A Padmanabhan            2.80            2,072.00
                   review/update case law citations in claims objection
                   (2.3).

7 December 2023    Calls with J. Zakia (W&C) re: SEC claim issues (0.6);       D Turetsky               1.90            3,325.00
                   emails to J. Zakia (W&C) and R. Kampfner (W&C) re:
                   SEC claim issues (0.1); calls with D. Ninivaggi
                   (Lordstown) re: SEC claim settlement /securities
                   litigation issues (0.3); further call with J. Zakia (W&C)
                   re: derivative claims issues (0.2); further analysis re:
                   SEC claim issues (0.3).

7 December 2023    Confer with D. Turetsky re: SEC claim issues.               J Zakia                  0.60            1,050.00

7 December 2023    Review potential Labaton settlement issues.                 R Kampfner               1.00            1,590.00

7 December 2023    Confer with M3 re: claim reserve issues.                    F He                     0.20                262.00

7 December 2023    Further revise draft substantive objection to Ride          S Kaul                   1.80            1,908.00



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DATE                DESCRIPTION                                                   TIMEKEEPER            HOURS                   USD

                    proofs of claim (1.6); correspond with J. Yoo and A.
                    Padmanabhan re: same (0.2).

7 December 2023     Further draft objection to RIDE claim (2.3); confer with      J Yoo                    2.40            2,448.00
                    W&C team re: objection to RIDE claim (0.1).

7 December 2023     Research case law re: Securities Act issues and claim         A Padmanabhan            3.30            2,442.00
                    issues in connection with same in connection with
                    claims objection.

8 December 2023     Calls with J. Zakia (W&C) re: SEC claim                       D Turetsky               3.80            6,650.00
                    settlement/securities litigation issues (0.3); call with D.
                    Ninivaggi (Lordstown) and J. Zakia (W&C) re:
                    securities litigation/SEC claim settlement issues (0.4);
                    further analysis re: securities litigation/SEC claim
                    settlement issues (0.2); call with R. Stark (Brown
                    Rudnick) re: securities litigation settlement/SEC claim
                    issues (0.7); emails to D. Ninivaggi (Lordstown) re:
                    SEC claim settlement proposal (0.1); emails to D.
                    Baddley (SEC) re: settlement proposal (0.4); call with
                    R. Kampfner (W&C) and J. Zakia (W&C) re: securities
                    litigation settlement/SEC claim issues (0.4); further
                    analysis re: employee indemnification claim issues
                    (0.1); emails to J. Zakia (W&C) re: SEC claim issues
                    (0.2); further call with D. Ninivaggi (Lordstown) re:
                    securities litigation/SEC settlement issues (0.2); call
                    with D. Baddley (SEC) re: SEC claim/settlement issues
                    (0.8).

8 December 2023     Call with F. He re: data preservation inquiry from            R Szuba                  0.30                342.00
                    Foxconn (0.2); call with counsel to Foxconn re: same
                    (0.1).

8 December 2023     Draft substantive arguments for objection to Ride             S Kaul                   2.80            2,968.00
                    proofs of claim (1.6); correspond with A.
                    Padmanabhan (W&C) re: outstanding legal research
                    (0.2); review changes to draft objection re: same (0.3);
                    further revise draft objection (0.5); review Creditors’
                    Committee notices of deposition (0.2).

8 December 2023     Draft objection to RIDE claim (1.8); confer with W&C          J Yoo                    2.00            2,040.00
                    team re: objection to RIDE claim (0.2).

8 December 2023     Conduct legal research re: claim reserve amount               P Strom                  4.80            4,608.00
                    dispute (2.4); draft summary and correspond with R.
                    Szuba re: same (1.4).

8 December 2023     Research case law for claims objection (1.7); draft           A Padmanabhan            4.10            3,034.00
                    arguments for objection related to Foxconn complaint
                    and securities act violations (2.4).

10 December 2023    Calls with J. Zakia (W&C) re: Ohio litigation claim           D Turetsky               0.20                350.00
                    issues.

10 December 2023    Draft substantive arguments for objection to Ride class       S Kaul                   1.40            1,484.00
                    proofs of claim.

11 December 2023    Call with J. Zakia (W&C) re: SEC claim settlement             D Turetsky               0.30                525.00



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                    issues (0.1); further analysis re: SEC claim settlement
                    issues (0.2).

11 December 2023    Correspond with J. Zakia (W&C) re: Ohio litigant Rule        S Kaul                0.50                530.00
                    7023 motion (0.2); call with J. Zakia re: securities
                    litigation/Rule 7023 settlement issues (0.3).

11 December 2023    Confer with W&C team re: claims objections.                  J Yoo                 0.20                204.00

12 December 2023    Call with D. Baddley (SEC) re: SEC claim/settlement          D Turetsky            0.40                700.00
                    issues (0.2); further analysis re: SEC claim issues
                    (0.2).

12 December 2023    Prepare for and participate in call with opposing            J Zakia               0.60            1,050.00
                    counsel re: securities claim settlement.

12 December 2023    Attend call with Mr. Etkin re: potential claim settlement    R Kampfner            0.90            1,431.00
                    with 510(b) claimants.

13 December 2023    Call with J. Zakia (W&C) re: securities settlement/SEC       D Turetsky            0.40                700.00
                    issues (0.2); call with R. Kampfner (W&C) re:
                    securities settlement/SEC issues (0.2).

13 December 2023    Correspond with F. He re: omnibus objection re: equity       D Kim                 0.40                508.00
                    interest claims (0.1); review and revise draft of same
                    (0.3).

13 December 2023    Confer with W&C team re: claims objections.                  J Yoo                 0.10                102.00

14 December 2023    Emails to F. He (W&C) re: SEC inquiry re: data               D Turetsky            0.50                875.00
                    preservation issues (0.1); further analysis re: SEC
                    claim issues (0.4).

14 December 2023    Confer with client re: SEC claim/Securities settlement.      J Zakia               0.50                875.00

14 December 2023    Review litigation complaints in connection with              S Kaul                0.70                742.00
                    analysis of potential claims against Debtors (0.3);
                    confer with A. Padmanabhan re: same (0.1);
                    correspondence with J. Zakia re: same (0.1); confer
                    with J. Yoo re: claims register and objection issues
                    (0.2).

18 December 2023    Call with D. Ninivaggi (Lordstown) and J. Zakia (W&C)        D Turetsky            3.30            5,775.00
                    re: SEC settlement issues (0.9); emails to R. Szuba
                    (W&C) re: claim reserve issues (0.1); email to D.
                    Kovsky-Apap (Troutman) re: SEC claim issues (0.1);
                    further analysis re: claim reserve issues (0.2); call with
                    D. Baddley, J. Leasure (SEC), J. Croke (S&C) and
                    W&C R. Kampfner and J. Zakia (W&C) re: SEC claim
                    settlement issues (0.5); further calls with J. Zakia
                    (W&C) and R. Kampfner (W&C) re: SEC claim issues
                    (0.8); email to D. Ninivaggi (Lordstown) and M.
                    Leonard (Lordstown) re: SEC claim settlement issues
                    (0.3); call with B. Silverberg (Brown Rudnick) re: SEC
                    Plan/settlement issues (0.4).

18 December 2023    Calls with D. Turetsky and R. Kampfner re: SEC claim         J Zakia               1.30            2,275.00



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                    settlement issues (0.8); call with SEC (D. Baddley, J.
                    Leasure and others), S&C, D. Turetsky and R.
                    Kampfner re: potential SEC claim settlement (0.5).

18 December 2023    Various calls with D. Turetsky and J. Zakia re: SEC         R Kampfner            0.80            1,272.00
                    claim settlement.

19 December 2023    Review SEC claim settlement issues (0.6); review            R Kampfner            1.20            1,908.00
                    potential settlement with 510(b) claimants (0.6).

21 December 2023    Call with D. Ninivaggi, M. Leonard, E. Hightower, A.        D Turetsky            1.10            1,925.00
                    Kroll (Lordstown) and J. Zakia (W&C) re: SEC issues
                    (0.5); emails to R. Kampfner (W&C) and R. Szuba
                    (W&C) re: SEC bar date extension issues (0.1); email
                    to R. Kampfner (W&C) and J. Zakia (W&C) re: SEC
                    claim issues (0.1); call with R. Kampfner (W&C) and J.
                    Zakia (W&C) re: SEC issues (0.4).

21 December 2023    Prepare for and participate in client call with D.          J Zakia               0.50                875.00
                    Ninivaggi, E. Hightower, M. Leonard and A. Kroll re:
                    SEC settlement.

21 December 2023    Call with D. Turetsky and J. Zakia re: SEC claim            R Kampfner            0.70            1,113.00
                    settlement/timing issues (0.4); review of stipulation to
                    extend SEC bar date (0.3).

21 December 2023    Review bar date order per SEC issue (0.3); draft SEC        F He                  1.60            2,096.00
                    bar date stipulation (1.3).

22 December 2023    Confer with SEC re: potential claim resolution.             J Zakia               0.40                700.00

22 December 2023    Confer with R. Szuba re: bar date stipulation with SEC.     F He                  0.30                393.00

22 December 2023    Revise SEC bar date stipulation based on comments           R Szuba               1.10            1,254.00
                    received (0.2); correspond with SEC and Committees
                    re: same (0.5); correspond with M. Patterson and
                    Womble team re: same (0.2); cause stipulation to be
                    filed (0.2).

27 December 2023    Emails to D. Kim (W&C) re: claims issues (0.1); further     D Turetsky            0.30                525.00
                    analysis re: government claim issues (0.2).

27 December 2023    Correspond with A. Estrada re: revised claims register      D Kim                 0.80            1,016.00
                    report (0.1); review revised report (0.5); correspond
                    with D. Turetsky, F. He, R. Szuba, R. Kampfner re:
                    same (0.1); circulate same to company and Silverman
                    team (0.1).

28 December 2023    Call with R. Szuba (W&C) re: SEC claim issues (0.1);        D Turetsky            2.60            4,550.00
                    further analysis re: SEC settlement issues (0.4); calls
                    with R. Kampfner (W&C) re: SEC claim settlement
                    issues (0.2); calls with J. Zakia (W&C) re: SEC claims
                    settlement issues (0.2); emails to S. Peikin (S&C) re:
                    SEC claims settlement issues (0.1); review and
                    comment re: SEC offer of settlement (0.9); review
                    proposed cease and desist SEC order (0.3); emails to
                    R. Szuba (W&C) and R. Kampfner (W&C) re: claims
                    reserve issues (0.2); further analysis re: claims reserve



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                      issues (0.2).

28 December 2023      Confer with D. Turetsky re: SEC claim settlement              J Zakia               0.90            1,575.00
                      issues (0.2); confer with directors' counsel re: potential
                      claim settlement (0.4); confer with plaintiffs' counsel re:
                      potential claim settlement (0.3).

28 December 2023      Correspond with A. Estrada (KCC) re: updates to               D Kim                 0.60                762.00
                      claims register (0.1); review and analyze changes
                      based on same (0.4); correspond with L. Mezei re:
                      second omnibus claim objection based on equity
                      interests (0.1).

28 December 2023      Draft stipulation to extend SEC claims bar date (0.4);        R Szuba               0.60                684.00
                      draft correspondence to counsel to SEC re: same
                      (0.1); correspond with Womble team re: same (0.1).

29 December 2023      Call with J. Zakia (W&C) re: SEC claim settlement             D Turetsky            1.20            2,100.00
                      issues (0.1); call with D. Ninivaggi, A. Kroll, M. Leonard
                      (Lordstown), S. Peikin, J. Croke (S&C), and J. Zakia
                      (W&C) re: SEC claim settlement (0.5); email to S.
                      Peikin (S&C) re: SEC settlement offer (0.1); call with
                      D. Ninivaggi (Lordstown) re: SEC settlement offer
                      (0.1); call with R. Stark (Brown Rudnick) re: SEC
                      settlement offer (0.1); call with D. Kovsky-Apap
                      (Troutman) re: SEC settlement offer (0.1); further
                      analysis re: SEC claim settlement issues (0.2).

29 December 2023      Further review SEC settlement documents (0.4) confer          J Zakia               1.00            1,750.00
                      with client (D. Ninivaggi and others), co-counsel (S.
                      Peikin, J. Croke), and D. Turetsky re: SEC settlement
                      documents (0.5); further confer with D. Turetsky re:
                      SEC claim settlement matters (0.1).

29 December 2023      Review draft second omnibus claim objection re:               D Kim                 0.40                508.00
                      equity interests.

30 December 2023      Review markup to SEC claim settlement (0.2); email to         D Turetsky            0.30                525.00
                      J. Zakia (W&C) and R. Kampfner (W&C) re: SEC claim
                      settlement issues (0.1).

31 December 2023      Emails to D. Ninivaggi (Lordstown) and J. Zakia (W&C)         D Turetsky            0.10                175.00
                      re: SEC settlement issues.

31 December 2023      Review SEC documents (0.6); emails with Creditors'            J Zakia               0.80            1,400.00
                      Committee re: same (0.2).

SUBTOTAL: Claims Administration & Objections                                                            108.50          133,509.00


Corporate Advice & Board Meetings
4 December 2023       Emails to M. Leonard (Lordstown) re: board meeting            D Turetsky            0.30                525.00
                      issues (0.1); further analysis re: board meeting issues
                      (0.2).

5 December 2023       Draft board summary for D. Turetsky (0.7); draft              R Szuba               0.80                912.00
                      correspondence to D. Turetsky re: same (0.1).



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6 December 2023      Emails to M. Leonard (Lordstown) re: board meeting           D Turetsky            0.40                700.00
                     issues (0.2); call with G. Pryor (W&C) re: board
                     meeting issues (0.2).

6 December 2023      Call with D. Turetsky re: board resolutions (0.2); review    R Szuba               2.40            2,736.00
                     correspondence from D. Turetsky and G. Pryor re:
                     same (0.2); review board resolutions from prior
                     meetings re: derivative committee appointment and
                     Plan Supplement (0.2); confer with S. Zhang re: board
                     resolutions (0.2); review resolution re: derivative claims
                     findings (0.3); draft resolution re: approval of plan
                     supplement matters (0.8); draft board summary (0.3);
                     further confer with D. Turetsky re: same (0.2).

7 December 2023      Confer with G. Pryor (W&C) re: board meeting issues          D Turetsky            2.30            4,025.00
                     (0.3); review and comment re: board resolutions (0.2);
                     emails to G. Pryor (W&C) re: board resolutions (0.2);
                     calls with J. Zakia (W&C) re: derivative claim
                     resolutions (0.2); call with G. Pryor (W&C) re: board
                     resolution issues (0.2); email to S. Zhang (W&C) re:
                     board resolution issues (0.1); prepare for Lordstown
                     Board meeting (0.3); attend and advise at Lordstown
                     board meeting with Board (D. Hamamoto, D.
                     Ninivaggi, E. Hightower, L. Soave, and others),
                     Lordstown (M. Leonard, A. Kroll and others), M.
                     DiRisio (Winston & Strawn), J. Zakia (W&C), and G.
                     Pryor (W&C) (0.8).

7 December 2023      Confer with D. Turetsky re: derivative claim board           J Zakia               1.10            1,925.00
                     meeting issues (0.2); prepare for (0.1) and participate
                     in (0.8) board meeting.

7 December 2023      Draft board resolutions (0.1); correspond with S.            R Szuba               0.20                228.00
                     Zhang (W&C) and M&A team re: same (0.1).

22 December 2023     Draft summary for D. Turetsky for board presentation         R Szuba               1.00            1,140.00
                     contemplated for December 26, 2023 (0.8); draft
                     correspondence to D. Turetsky (W&C) re: same (0.1);
                     review correspondence from D. Turetsky (W&C) re:
                     same (0.1).

26 December 2023     Attend Lordstown board meeting with D. Hamamoto,             D Turetsky            0.50                875.00
                     D. Ninivaggi, E. Hightower, L. Soave, D. Spencer, and
                     others (Lordstown board), M. Leonard, A. Kroll
                     (Lordstown), J. Zakia (W&C) and J. Spreen (Baker
                     Hostetler).

26 December 2023     Prepare for and participate in board meeting.                J Zakia               0.50                875.00

SUBTOTAL: Corporate Advice & Board Meetings                                                             9.50           13,941.00


Exclusivity, Plan & Disclosure Statement
1 December 2023      Calls with B. Silverberg (Brown Rudnick) re: Plan            D Turetsky            5.90           10,325.00
                     supplement issues (0.1) and Foxconn Plan issues
                     (0.2); calls with A. Cieply (W&C) re: Plan supplement
                     new organizational document issues (0.2); further
                     review Plan supplement documents (0.8); call with A.
                     Kroll (Lordstown) re: post-effective date debtor amount



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                   issues (0.1); conduct further analysis re: Plan
                   supplement issues (0.6); call with R. Winning (M3) re:
                   post effective date debtor amount (0.1); emails to B.
                   Silverberg (Brown Rudnick) re: Plan supplement
                   issues (0.2) and Foxconn Plan issues (0.3); email to D.
                   Kovsky (Troutman) re: post-effective date debtor
                   amount (0.3); calls with R. Kampfner (W&C) re: Plan
                   issues (0.6); call with R. Szuba (W&C) re: Plan issues
                   (0.1); call with D. Guyder (Allen & Overy) re: Foxconn
                   Plan issues (0.2); call with M. Winograd (Brown
                   Rudnick) re: Plan supplement re: retained causes of
                   action (0.1); call with M. Sawyer (Brown Rudnick) re:
                   retained causes of action (0.1); further emails to F.
                   Lawall (Troutman) re: Plan supplement issues (0.3);
                   call with D. Ninivaggi (Lordstown) re: Plan issues (0.5);
                   call with J. Zakia (W&C) re: Plan supplement issues
                   (0.1); call with W&C team (R. Kampfner, R. Szuba, F.
                   He) re: Plan issues (0.4); further review draft
                   confirmation order (0.2); further analysis re: Foxconn
                   Plan issues (0.4).

1 December 2023    Call with D. Turetsky, R. Kampfner and R. Szuba re:          F He                  3.10            4,061.00
                   plan issues (0.4); confer with D. Turetsky re: Plan
                   supplement questions (0.3); confer with R. Szuba re:
                   same (0.5); call with former D&O counsel re: Plan
                   issues (0.5); confer with R. Kampfner re: same (0.3);
                   confer with Equity Committee re: Plan supplement
                   issues (0.4); review and revise confirmation brief (0.7).

1 December 2023    Attend plan strategy call with R. Kampfner, D.               R Szuba               4.10            4,674.00
                   Turetsky, and F. He (0.4); draft Plan supplement notice
                   and Plan supplement exhibits (1.6); prepare Plan
                   supplement for filing (0.3); revise confirmation order
                   and notice of filing of confirmation order (0.3); revise
                   new       organizational      documents    (0.2);    draft
                   correspondence re: same to D. Turetsky and B.
                   Silverberg (0.1); draft correspondence to M. Patterson
                   and Womble re: Plan supplement and confirmation
                   order filing (0.4); draft correspondence to B. Silverberg
                   and counsel to Equity Committee re: Plan supplement
                   (0.3); draft correspondence to D. Kovsky and counsel
                   to Creditors’ Committee re: Plan supplement (0.2);
                   draft correspondence to A. Kroll and Company re: Plan
                   supplement (0.2); cause Plan supplement to be filed
                   (0.1).

1 December 2023    Conduct legal research re: settlement precedent post-        P Strom               1.20            1,152.00
                   approval of disclosure statement.

3 December 2023    Emails to R. Szuba (W&C) and R. Kampfner (W&C) re:           D Turetsky            0.20                350.00
                   Foxconn Plan issues.

3 December 2023    Draft Foxconn distribution provision for Plan.               R Kampfner            0.60                954.00

3 December 2023    Review correspondence from D. Turetsky and R.                R Szuba               0.70                798.00
                   Kampfner re: Plan comments (0.2); further revise Plan
                   (0.3); draft correspondence to company re: same (0.1);
                   draft correspondence to B. Silverberg and counsel to
                   Equity Committee re: same (0.1).




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4 December 2023    Email to B. Hackman (US Trustee) re: US Trustee             D Turetsky            3.10            5,425.00
                   Plan comments (0.1); email to F. He (W&C) and R.
                   Szuba (W&C) re: US Trustee Plan issues (0.1); further
                   analysis re: Plan release issues (0.4); further analysis
                   re: effective date planning issues and email to B.
                   Silverberg (Brown Rudnick) re: same (0.1); calls with
                   B. Silverberg (Brown Rudnick) re: Plan issues (0.7);
                   further call with R. Szuba (W&C) and R. Kampfner
                   (W&C) re: US Trustee Plan issues (0.2); review and
                   analysis re: US Trustee Plan issues (0.2); further
                   research/analysis re: Plan discharge issues (0.6);
                   emails to R. Szuba (W&C) re: Plan discharge issues
                   (0.1); call with D. Ninivaggi (Lordstown) re: Plan issues
                   (0.1); call with W&C team (R. Szuba, F. He) re: Plan
                   issues (0.5).

4 December 2023    Call with D. Turetsky and R. Szuba re: Plan issues          F He                  0.80            1,048.00
                   (0.5); confer with former D&Os' counsel re: Plan issues
                   (0.3).

4 December 2023    Attend plan strategy call with D. Turetsky and F. He        R Szuba               3.00            3,420.00
                   (0.5); review analysis re: applicability of discharge
                   injunction (0.2); research re: same (0.6); draft
                   correspondence to D. Turetsky and R. Kampfner re:
                   same (0.1); draft correspondence to counsel to
                   Foxconn re: confirmation order (0.1); call with D.
                   Turetsky re: Plan comments from US Trustee (0.2);
                   draft responses to comments from US Trustee (0.4);
                   draft correspondence D. Kovsky and B. Silverberg re:
                   same (0.1); draft correspondence to D. Ninivaggi and
                   company re: Foxconn Plan comments (0.1); draft
                   correspondence to counsel Foxconn re: new
                   organizational documents (0.3); draft correspondence
                   to B. Silverberg, R. Stark and counsel to Equity
                   Committee re: litigation trustee and litigation trust
                   agreement (0.2); draft Plan with respect to interests
                   reserve (0.2).

4 December 2023    Conduct further legal research re: potential settlement     P Strom               1.40            1,344.00
                   post-Plan solicitation.

5 December 2023    Emails to R. Stark (Brown Rudnick) and B. Silverberg        D Turetsky            3.20            5,600.00
                   (Brown Rudnick) re: US Trustee Plan issues (0.2); call
                   with R. Winning (M3) re: Plan issues (0.4); call with B.
                   Hackman (US Trustee) re: US Trustee Plan issues
                   (0.1); further research/analysis re: discharge issues
                   (0.4); review D&O Plan comments (0.1); email to F. He
                   (W&C) and R. Szuba (W&C) re: D&O Plan comments
                   (0.1); calls with R. Szuba (W&C) re: Plan issues (0.1);
                   call with R. Kampfner (W&C) re: Plan issues (0.2);
                   calls with R. Stark (Brown Rudnick) re: Plan issues
                   (0.4); meeting/confer with J. Zakia (W&C) re: Plan
                   issues (0.9); further review and comment re: proposed
                   Plan modifications (0.3).

5 December 2023    Multiple conferences with D. Turetsky re: Plan strategy     J Zakia               1.50            2,625.00
                   issues (0.9); review revised Plan documents (0.6).

5 December 2023    Review claims ombudsman agreement and provide               R Kampfner            0.80            1,272.00
                   comments thereto (0.6); call with D. Turetsky re plan
                   issues (0.2).



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5 December 2023    Draft correspondence to B. Silverberg and Equity             R Szuba               4.30            4,902.00
                   Committee re: litigation trustee and litigation trust
                   agreement (0.1); draft correspondence to D. Kovsky
                   and B. Silverberg re: Plan comments from interested
                   parties (0.3); call with D. Turetsky re: Plan and Plan
                   documents (0.1); draft and review Plan provisions re:
                   executory contracts (0.4); draft Plan issues list (0.8);
                   draft response to US Trustee Plan comments (1.1);
                   research re: same (0.2); draft correspondence to
                   Foxconn      re:    Plan    comments       (0.2);   draft
                   correspondence to D. Kovsky and Creditors’
                   Committee counsel re: Foxconn and D&O Plan
                   comments (0.2); review correspondence from D.
                   Turetsky, D. Kovsky, F. Lawall re: Foxconn and D&O
                   Plan comments (0.2); review correspondence from B.
                   Silverberg re: same (0.1); draft first supplemental Plan
                   supplement notice (0.5); draft correspondence to D.
                   Turetsky, R. Kampfner, and F. He re: same (0.1).

5 December 2023    Conduct further legal research re: potential settlement      P Strom               1.70            1,632.00
                   after Plan solicitation.

6 December 2023    Call with D. Kovsky (Troutman) re: Plan issues (0.1);        D Turetsky            5.90           10,325.00
                   call with B. Hackman (US Trustee) and R. Stark
                   (Brown Rudnick) re: Plan discharge issues (0.6);
                   further call with R. Stark (Brown Rudnick) re: Plan
                   discharge issues (0.1); review and revise various Plan
                   provisions based on comments received (0.9); emails
                   to R. Szuba (W&C) re: US Trustee Plan comments
                   (0.1) and other Plan issues (0.1); calls with R. Szuba
                   (W&C) re: Plan issues (0.3); further analysis re: Plan
                   issues (0.9); further call with S. Dwoskin (Brown
                   Rudnick) re: Plan issues (0.4); call with D. Kovsky
                   (Troutman) re: Plan issues (0.6); call with T. Manthey
                   (Fisher) re: RIDE Plan issues (0.2); further emails to S.
                   Dwoskin (Brown Rudnick) and R. Stark (Brown
                   Rudnick) re: Plan issues (0.1); further calls with R.
                   Kampfner (W&C) re: Plan issues (0.2); call with D.
                   Guyder (Allen Overy) re: Foxconn Plan issues (0.1);
                   draft letter to SEC re: Plan/claim issues (1.3); emails to
                   F. He (W&C) and R. Szuba (W&C) re: Plan language
                   re: indemnification claims (0.2).

6 December 2023    Further call with D. Turetsky re: Plan issues.               R Kampfner            0.20                318.00

6 December 2023    Revise Plan re: comments from YCST (0.4); confer             F He                  1.90            2,489.00
                   with company re: same (0.2); confer with Equity
                   Committee re: same (0.2); confer with Creditors’
                   Committee re: same (0.2); confer with YCST re: same
                   (0.2); research (0.1) and confer with A. Kroll
                   (Company) (0.2) re: Plan issues; confer with R. Szuba
                   re: various Plan and Plan supplement issues (0.4).

6 December 2023    Confer with F. He re: Plan supplement issues (0.4);          R Szuba               3.60            4,104.00
                   draft Plan and confirmation order comments tracker
                   (0.6); draft first amendment to Plan supplement (0.3);
                   attend call with counsel to RIDE Investor Group and D.
                   Turetsky re: Plan comments (0.2); review Plan re:
                   RIDE plaintiffs treatment (0.2); draft correspondence
                   and analysis to D. Turetsky and R. Kampfner re: RIDE
                   claimants comments (0.3); draft responses to US



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                   Trustee Plan comments (0.8); research re: same (0.4);
                   confer with D. Turetsky re: same (0.2); draft
                   correspondence to company re: same (0.1); draft
                   correspondence to D. Kovsky and Creditors’
                   Committee and B. Silverberg and counsel to Equity
                   Committee re: same (0.1).

6 December 2023    Draft confirmation brief sections (3.1) and research re:    L Mezei               6.30            6,426.00
                   section 510(b) issues (3.2).

7 December 2023    Email to S. Riel (Young Conaway) re: former D&O             D Turetsky            4.30            7,525.00
                   Plan issues (0.1); email to T. Manthey (Fishman) re:
                   RIDE Plan issues (0.1); draft correspondence to D.
                   Baddley (SEC) re: SEC Plan issues (0.3); call with J.
                   Badtke-Bekow (Allen & Overy) and D. Guyder (Allen &
                   Overy) re: Foxconn Plan issues (0.1); further analysis
                   re: Foxconn Plan issues (0.2); email to F. He (W&C)
                   re: Plan waterfall issues (0.1); further email to F. He
                   (W&C) and R. Szuba (W&C) re: US Trustee Plan
                   issues (0.1); email to R. Stark (Brown Rudnick) re: US
                   Trustee Plan issues (0.1); emails to S. Dwoskin
                   (Brown Rudnick) re: director Plan issues (0.1); call with
                   D. Guyder, J. Badtke-Berkow, J. Herz (Allen & Overy),
                   M. Harvey (Morris Nichols) and R. Kampfner, R. Szuba
                   (W&C) re: Foxconn Plan issues (0.7); call with S.
                   Dwoskin (Brown Rudnick) re: Plan issues (0.3); call
                   with F. He, R. Szuba (W&C) re: Plan issues (0.3); call
                   with D. Kovsky-Apap (Troutman) re: Plan issues (0.1);
                   call with R. Kampfner (W&C) re: Plan issues (0.5); call
                   with D. Baddley (SEC) re: Plan issues (0.7); further
                   analysis re: additional Plan issues (0.5).

7 December 2023    Attend call with Foxconn to address Plan comments           R Kampfner            2.30            3,657.00
                   (0.7); review US Trustee comments to Plan (0.3) and
                   revise same (1.3).

7 December 2023    Confer with NHTSA re: Plan issues (0.3); confer with        F He                  2.30            3,013.00
                   D. Turetsky and R. Szuba re: same (0.3); confer with
                   A. Kroll (Company) re: Plan issues (0.2); confer with L.
                   Mezei re: confirmation brief issues (0.2); review
                   confirmation objection (0.5); discuss Plan issues with
                   R. Szuba (0.4).

7 December 2023    Call with Foxconn re: Plan Issues and new                   R Szuba               3.70            4,218.00
                   organizational document issues (0.7); call with D.
                   Turetsky (W&C) and F. He (W&C) re: Plan comments
                   from certain former directors and officers (0.3); draft
                   Plan re: same (0.3); draft correspondence to D.
                   Ninivaggi (Lordstown) and Company re: same (0.4);
                   review comments to Plan from United States Trustee
                   (0.6); draft issues and resolution chart re: same (0.6);
                   draft correspondence re: same to D. Ninivaggi
                   (Lordstown) and Company (0.2); draft correspondence
                   to D. Kovsky-Apap (Creditors’ Committee) re: same
                   (0.1); draft correspondence to B. Silverberg (Equity
                   Committee) re: same (0.1); review correspondence re:
                   discharge issue (0.1); draft correspondence to United
                   States Trustee re: Plan and discharge (0.2).

7 December 2023    Further draft/revise confirmation brief.                    L Mezei               4.20            4,284.00




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7 December 2023    Research re Lordstown release issues in connection           P Strom               2.50            2,400.00
                   with plan (1.7); draft rider for inclusion in confirmation
                   brief re: same (0.8).

8 December 2023    Review RIDE Plan comments and email to F. He and             D Turetsky            4.40            7,700.00
                   R. Szuba (W&C) re: same (0.1); email to A. Kroll
                   (Lordstown) re: RIDE Plan issues (0.1); further review
                   and comment re: further Plan comments received
                   (0.6); call with F. He, R. Szuba, (partial) R. Kampfner
                   (W&C) re: Plan issues (1.0); further calls with R.
                   Kampfner (W&C) re: Plan discharge issues (0.3); email
                   to D. Kovsky-Apap (Troutman) re: Plan issues (0.1);
                   emails to R. Kampfner (W&C) re: Plan issues (0.2);
                   emails to R. Stark (Brown Rudnick), S. Dwoskin
                   (Brown Rudnick) and others re: Plan issues (0.3);
                   further analysis re: Plan issues (0.6); call with R.
                   Kampfner, R. Szuba, F. He and (partial) J. Zakia
                   (W&C) re: Plan issues (0.4); call with R. Stark (Brown
                   Rudnick) re: Plan issues (0.2); call with J. Finger
                   (Jefferies) re: Plan issues (0.1).

8 December 2023    Confer with W&C team (R. Kampfner, D Turetsky, and           J Zakia               0.90            1,575.00
                   others) re: confirmation hearing (0.4); review
                   confirmation discovery (0.5).

8 December 2023    Attend call (partial) W&C team (D. Turetsky, F. He, R.       R Kampfner            2.30            3,657.00
                   Szuba) re: Plan evidentiary issues (0.8); further call
                   with J. Zakia, D. Turetsky re: same (0.4); review
                   NHTSA confirmation language (0.4); draft Plan
                   language re: discharge of debts (0.7).

8 December 2023    Call with D. Turetsky, R. Kampfner and R. Szuba re:          F He                  6.60            8,646.00
                   Plan issues and strategy (0.4); review Plan comments
                   from creditor (0.6); confer with D. Turetsky re: same
                   (0.2); confer with Equity Committee re: Plan comments
                   from YCST (0.2); confer with Creditors’ Committee re:
                   Plan comments from YCST (0.2); confer with YCST re:
                   same (0.2); call with D. Turetsky, R. Kampfner and R.
                   Szuba re: confirmation issues (1.0); draft and revise
                   confirmation brief (3.3); confer with R. Szuba re: same
                   (0.5).

8 December 2023    Attend plan strategy call with D. Turetsky, R.               R Szuba               3.70            4,218.00
                   Kampfner, F. He, and D. Kim (W&C) (0.4); Review
                   correspondence from R. Stark (W&C) re: discharge
                   issue (0.1); draft correspondence to US Trustee re:
                   Plan objection extension (0.2); call with D. Turetsky, R.
                   Kampfner, F. He (W&C) re: Plan Confirmation
                   preparation, brief, declarations and evidence (1.0);
                   draft correspondence to US Trustee re: Plan
                   comments (0.1); review Plan comments from Foxconn
                   (0.2); revise Plan and Plan related documents (0.9);
                   draft correspondence to company re: same (0.1); draft
                   correspondence to Equity Committee re: same (0.1);
                   review Plan re: issues re: post-petition securities class
                   action proposed language (0.2); draft correspondence
                   to D. Turetsky re: same (0.1); draft correspondence to
                   A. Kroll (Lordstown) company re: same (0.2); draft
                   correspondence to Committees re: same (0.1).

8 December 2023    Correspond with F. He re: confirmation brief (0.2);          L Mezei               0.50                510.00



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                    research re: same (0.2); further correspond with F. He
                    re: same (0.1).

9 December 2023     Calls with J. Zakia (W&C) re: Plan issues (0.2); email      D Turetsky            3.90            6,825.00
                    to D. Guyder (Allen & Overy) re: Foxconn Plan issues
                    (0.1); draft Plan settlement term sheet with respect to
                    various issues/parties (1.8); calls with R. Kampfner
                    (W&C) re: Plan issues (0.3); call with D. Guyder (Allen
                    & Overy) re: Foxconn Plan issues (0.3); further
                    analysis re: Plan issues (0.6); emails to R. Stark
                    (Brown Rudnick) re: Plan issues (0.1); calls with R.
                    Szuba (W&C) re: Plan issues (0.2); emails to R.
                    Kampfner (W&C) and R. Szuba (W&C) re: Plan
                    settlement term sheet (0.2); email to D. Ninivaggi
                    (Lordstown) and M. Leonard (Lordstown) re: Plan
                    settlement issues (0.1).

9 December 2023     Review and revise term sheet re: 510(b) claims (1.6);       R Kampfner            1.90            3,021.00
                    various calls with D. Turetsky re: same (0.3).

9 December 2023     Draft and revise confirmation brief (3.9); confer with R.   F He                  4.60            6,026.00
                    Szuba re: same (0.4); review settlement term sheet for
                    Plan (0.3).

9 December 2023     Calls with F. He (W&C) re: brief in support of              R Szuba               4.00            4,560.00
                    confirmation (0.4); research re: issues in connection
                    with confirmation (1.9); review documents re: same
                    (0.8); draft correspondence to F. He re: brief in support
                    of confirmation and declarations in support of
                    confirmation (0.2); review comments to Plan from
                    Equity Committee (0.3); draft correspondence to M.
                    Sawyer (Brown Rudnick) re: same (0.2); calls with D.
                    Turetsky (W&C) re Plan issues (0.2).

10 December 2023    Further review and comment re: Plan (1.4); calls with       D Turetsky            2.80            4,900.00
                    R. Kampfner (W&C) re: Plan issues (0.2); call with J.
                    Zakia (W&C) re: Plan issues (0.1); email to D.
                    Ninivaggi (Lordstown) response to inquiry re: potential
                    Plan settlements (0.2); call with R. Szuba (W&C) re:
                    Plan issues (0.1); email to B. Hackman (US Trustee)
                    re: US Trustee Plan issues (0.1); emails to D. Kovsky-
                    Apap (W&C) and F. Lawall (W&C) re: US Trustee Plan
                    issues (0.2); email to B. Silverberg (Brown Rudnick)
                    and R. Stark (Brown Rudnick) re: Plan issues (0.1);
                    further analysis re: Plan issues (0.3); call with D.
                    Ninivaggi (Lordstown) re: Plan issues (0.1).

10 December 2023    Call with D. Turetsky re: Plan issues.                      J Zakia               0.10                175.00

10 December 2023    Review Plan modifications (1.1); various call with D.       R Kampfner            1.30            2,067.00
                    Turetsky re: Plan (0.2).

10 December 2023    Revise confirmation brief (1.9); confer with R. Szuba       F He                  3.30            4,323.00
                    re: confirmation brief issues (0.2); draft declaration in
                    support of confirmation (1.2).

10 December 2023    Calls with D. Turetsky (W&C) re: Foxconn Plan               R Szuba               2.20            2,508.00
                    comments, second amended Plan, and term sheet
                    (0.1); draft Jefferies Declaration in support of



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                    confirmation (0.3); confer with F. He (W&C) re:
                    declarations in support of confirmation (0.2); further
                    revise Plan (1.2); correspond with counsel to Equity
                    Committee re: Plan (0.2); draft correspondence to D.
                    Ninivaggi (Lordstown) and Company re: Plan (0.2).

11 December 2023    Call with D. Baddley (SEC) re: Plan issues (0.1); call     D Turetsky            6.10           10,675.00
                    with D. Guyder (Allen & Overy) re: Foxconn Plan
                    issues (0.1); call with B. Silverberg (Brown Rudnick)
                    and (partial) R. Winning (M3) re: Plan issues (0.9);
                    email to B. Hackman (US Trustee) re: US Trustee Plan
                    issues (0.1); email to D. Kovsky-Apap (Troutman) re:
                    Creditors’ Committee Plan issues (0.1); call with W&C
                    (R. Kampfner, J. Zakia) re: Plan/confirmation issues
                    (0.6); call with D. Kovsky-Apap (Troutman) and F.
                    Lawall (Troutman) re: Plan issues (0.4); further calls
                    with R. Kampfner (W&C) re: Plan issues (0.5); further
                    calls with J. Zakia (W&C) re: Plan issues (0.1); call
                    with M. Patterson (Womble) re: Plan issues (0.1); call
                    with R. Stark (Brown Rudnick) re: Plan issues (0.7);
                    further review and comment re: Plan language based
                    on comments received from US agencies (0.2); email
                    to F. He (W&C) re: same (0.1); further analysis re:
                    discharge proposal from US Trustee (0.3); further
                    analysis re: Plan issues (0.7); call with F. He, R.
                    Szuba, and R. Kampfner (W&C) re: Plan issues (0.5);
                    call with R. Winning (M3), B. Silverberg (Brown
                    Rudnick), and R. Kampfner (W&C) re: Foxconn Plan
                    issues (0.3).

11 December 2023    Confer with D. Turetsky and R. Kampfner re: Plan           J Zakia               0.70            1,225.00
                    issues (0.6); further confer with D. Turetsky re: Plan
                    issues (0.1).

11 December 2023    Attend call with D. Turetsky and J. Zakia re: plan         R Kampfner            4.70            7,473.00
                    issues (0.6); review and revise Plan to incorporate
                    settlement with 510(b) claimants (0.9); attend call with
                    Creditors’ Committee re: Foxconn issues (0.5); review
                    and revise confirmation brief (2.7).

11 December 2023    Call with D. Turetsky, R. Kampfner and R. Szuba re:        F He                  4.50            5,895.00
                    plan issues (0.5); conference call with NHTSA and
                    ERNDA re: confirmation order issues (0.5); review and
                    revise proposed language (0.6); confer with D.
                    Turetsky re: same (0.1); follow up call with NHITSA
                    and ERNDA re: same (0.5); further revise language
                    and confer with D. Turetsky (0.7); confer with Equity
                    Committee re: same (0.8); confer with Creditors’
                    Committee re: same (0.5); call with R. Szuba re:
                    NHTSA and ERNDA confirmation order issues (0.3).

11 December 2023    Review and analyze revised voting report (0.5);            D Kim                 2.30            2,921.00
                    correspond with F. He, D. Turetsky, R. Szuba and R.
                    Kampfner re: same (0.2); correspond with D. Turetsky
                    re: solicitation procedures (0.1); review same (0.3);
                    review revised draft confirmation order (0.8); analyze
                    potential revisions to modified Plan (0.3); revise Plan
                    progress tracker (0.1).

11 December 2023    Attend plan strategy call with D. Turetsky, R.             R Szuba               4.30            4,902.00
                    Kampfner, F. He, and D. Kim (W&C) (0.5); call with F.



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                    He re: united states entities proposed language and
                    Creditors’ Committee and Equity                Committee
                    comments with respect to same (0.3); review
                    documents and emails re: same (0.2); draft declaration
                    of D. Ninivaggi (Lordstown) in support of confirmation
                    (1.4); draft declaration of A. Kroll (Lordstown) re: same
                    (1.2); draft correspondence to S. Dwoskin and counsel
                    to equity committee re: Plan supplement documents
                    (0.2); review status re: same (0.2); draft
                    correspondence to F. He (W&C) re: J. Finger
                    declaration in support of confirmation (0.1); review
                    declaration re: same (0.1); draft correspondence to R.
                    Kampfner (W&C) re: Plan (0.1).

12 December 2023    Call with S. Dwoskin, B. Silverberg (Brown Rudnick)          D Turetsky            5.30            9,275.00
                    re: Plan issues (0.5); call with D. Guyder (Allen &
                    Overy) re: Foxconn Plan issues (0.1); emails to D.
                    Ninivaggi (Lordstown) re: Plan issues (0.3); further
                    analysis re: Plan issues (0.7); emails to D. Kovsky-
                    Apap (Troutman) re: Plan deposition issues (0.2);
                    emails to D. Detweiler (Womble) and M. Patterson
                    (Womble) re: Fiberdyne voting issues (0.1); emails to
                    R. Szuba (W&C) re: Fiberdyne voting issues (0.1);
                    further analysis re: voting issues (0.2); calls with R.
                    Kampfner (W&C) re: Plan issues (0.6); further call with
                    B. Silverberg (Brown Rudnick) re: Plan issues (0.6);
                    call with U.S. (A. Tenenbaum, J. Cohn, A. Sleights)
                    and F. He (W&C) re: US Plan issues (0.7); confer with
                    J. Zakia (W&C) re: Plan issues (0.4); call with D. Kim,
                    R. Kampfner, F. He, R. Szuba (W&C) re: Plan issues
                    (0.7); call with B. Hackman (US Trustee) re: discharge
                    issues (0.2).

12 December 2023    Confer with D. Turetsky re: Plan issues (0.4); review        J Zakia               1.10            1,925.00
                    revised Plan documents (0.7).

12 December 2023    Call with D. Turetsky re: Plan issues (0.6); review Plan     R Kampfner            3.10            4,929.00
                    re: 510(b) issues (1.1); analysis of voting procedures
                    re: potential Rule 3018 Stipulation (0.7); attend internal
                    with W&C (D. Turetsky, R. Szuba and others) re: Plan
                    issues (0.7).

12 December 2023    Call with D. Turetsky, R. Kampfner and R. Szuba re:          F He                  2.10            2,751.00
                    various developments and strategy (0.5); confer with
                    D. Turetsky re: government language for confirmation
                    order and revise language (0.2); confer with Equity
                    Committee re: same (0.2); confer with government re:
                    same (0.5); prepare and attend call with government
                    re: same (0.7).

12 December 2023    Correspond with A. Estrada (KCC) re: preliminary             D Kim                 3.10            3,937.00
                    voting summary (0.1); review and analyze preliminary
                    results re: same (0.5); correspond with A. Estrada
                    (KCC) re: certain voting deadline extensions (0.1);
                    revise confirmation timeline/checklist (0.9); draft A.
                    Estrada voting declaration (0.8); team call with D.
                    Turetsky, R. Kampfner, R. Szuba, F. He re: Plan
                    updates and ongoing strategy (0.7).

12 December 2023    Attend plan strategy call with D. Turetsky, R.               R Szuba               5.30            6,042.00
                    Kampfner, F. He, and D. Kim (W&C) (0.7); review



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                    confirmation order language proposed by NTHSA and
                    ENRD (0.2); correspond with F. He (W&C) re: same
                    (0.2); attend call with NTHSA and ENRD re: proposed
                    confirmation order language (0.5); review solicitation
                    order and procedures with respect to voting
                    requirements (0.4); draft correspondence with D.
                    Turetsky and R. Kampfner (W&C) re: same (0.3); call
                    with R. Kampfner re: same and 3018 stipulation (0.3);
                    draft correspondence to counsel to Fiberdyne re:
                    voting and claim (0.6); review documents re: Fiberdyne
                    claim (0.3); draft correspondence to D. Turetsky and
                    W&C team re: same (0.2); draft correspondence to
                    KCC re: same (0.2); review correspondence from KCC
                    re: same (0.1); draft correspondence to counsel to
                    equity committee re: discharge issue (0.3); review
                    authorities re: same (0.2); draft declarations in support
                    of confirmation (0.8).

13 December 2023    Calls with J. Zakia (W&C) re: Plan confirmation issues      D Turetsky            4.30            7,525.00
                    (0.3); call with F. He (W&C) re: Plan voting issues
                    (0.1); call with D. Baddley (SEC) re: SEC Plan issues
                    (0.4); call with D. Guyder (Allen & Overy) re: Foxconn
                    Plan issues (0.1); call with B. Silverberg (Brown
                    Rudnick) re: Plan issues (0.3); email to D. Kim (W&C)
                    re: Plan voting issues (0.1); email to D. Ninivaggi
                    (Lordstown) and M. Leonard (Lordstown) re: Plan
                    issues (0.1); call with M. Etkin (Lowenstein) re: Ohio
                    claimant Plan issues (0.1); email to M. Etkin
                    (Lowenstein) re: Ohio claimant Plan issues (0.1); call
                    with D. Detweiler (Womble) re: confirmation issues
                    (0.1); call with R. Kampfner (W&C) re: Plan issues
                    (0.2); email to B. Hackman (US Trustee) re: US
                    Trustee Plan issues (0.1); further review and comment
                    re: Plan (0.4); further review and comment re: US
                    government Plan language (0.2) and analysis re:
                    issues re: same (0.2); email to R. Szuba (W&C) re:
                    same (0.1); call with R. Szuba (W&C) re: Plan issues
                    (0.1); emails to D. Kovsky-Apap (Troutman) re: Plan
                    issues (0.2); further analysis re: additional Plan issues
                    (0.8); further analysis re: further Foxconn Plan issues
                    (0.3).

13 December 2023    Call with D. Turetsky re: Foxconn Plan issues.              R Kampfner            0.20                318.00

13 December 2023    Analyze revised voting report from KCC (0.2); circulate     D Kim                 2.30            2,921.00
                    same to D. Turetsky, R. Kampfner, R. Szuba, and F.
                    He (0.1); circulate same to client (0.1); further revise
                    Estrada declaration re: voting report (0.5); revise
                    confirmation brief re: voting summary details (0.8);
                    correspond with F. He, R. Szuba re: confirmation
                    documents (0.2); revise Plan confirmation checklist
                    (0.4).

13 December 2023    Draft correspondence to D. Turetsky and R. Kampfner         R Szuba               1.80            2,052.00
                    (W&C) re: confirmation order language (0.1); review
                    correspondence from E. Slights (NHTSA) re: same
                    (0.2); draft correspondence to counsel to Fiberdyne re:
                    3018 stipulation (0.1); review correspondence from
                    counsel to Fiberdyne re: same (0.1); review 3018
                    stipulation (0.1); correspond with Womble team and
                    counsel to Fiberdyne re: same (0.2); review
                    correspondence from counsel to Foxconn re: Plan



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                    changes (0.1); review Plan mark-up from Foxconn
                    (0.2); draft correspondence to counsel to Committees
                    re: same (0.3); draft correspondence to company re:
                    same (0.1); correspond with D. Turetsky (W&C) re:
                    same (0.1); draft correspondence to counsel to
                    Committees re: NHTSA language (0.2).

14 December 2023    Call with D. Guyder (Allen & Overy) re: Foxconn Plan       D Turetsky            4.80            8,400.00
                    issues (0.3); call with D. Baddley (SEC) re: SEC Plan
                    issues (0.1); further analysis re: Foxconn Plan issues
                    (0.3); call with R. Kampfner (W&C) re: Plan issues
                    (0.3); calls with J. Zakia (W&C) re: Plan issues (0.8);
                    call with B. Silverberg (Brown Rudnick) re:
                    Plan/Foxconn issues (0.2); further research/analysis
                    re: discharge issues (0.6); further analysis re:
                    additional Plan issues (0.4); call with D. Ninivaggi
                    (Lordstown) re: Plan issues (0.2); draft emails to
                    Committees re: government confirmation order
                    language (0.2); emails to D. Baddley (SEC) and D.
                    Guyder (Allen & Overy) re: Plan issues (0.2); email to
                    M. Leonard (Lordstown) re: post-effective date
                    organizational document issues (0.1); further analysis
                    re: Labaton Plan issues (0.4); call with R. Kampfner, D.
                    Kim, R. Szuba, and F. He (W&C) re: Plan issues (0.7).

14 December 2023    Confer with D. Turetsky re: Plan issues.                   J Zakia               0.80            1,400.00

14 December 2023    Review and revise Plan to incorporate section 510(b)       R Kampfner            2.70            4,293.00
                    settlement and potential Foxconn settlement (2.4); call
                    with D. Turetsky re Foxconn and other Plan issues
                    (0.3).

14 December 2023    Call with D. Turetsky, R. Kampfner and R. Szuba re:        F He                  1.20            1,572.00
                    plan and strategy (0.7); confer with D. Turetsky re:
                    government language for confirmation order (0.2) and
                    revise language (0.3).

14 December 2023    Call with R. Kampfner, R. Szuba, F. He re: Plan            D Kim                 2.10            2,667.00
                    updates and ongoing strategies (0.7); further review
                    final voting report and summary from KCC (0.4);
                    correspond with D. Turetsky re: certain voting issues
                    (0.2); correspond with F. He, R. Szuba re:
                    confirmation-related tasks (0.2); further revise Plan
                    tracker checklist (0.5); correspond with R. Szuba, F.
                    He re: same (0.1).

14 December 2023    Call with D. Turetsky, R. Kampfner, F. He, and D. Kim      R Szuba               1.20            1,368.00
                    (W&C) re: plan strategy (0.7); draft correspondence to
                    S. Dwoskin and Equity Committee team re:
                    government language for confirmation order (0.2); draft
                    correspondence to D. Kovsky-Apap re: same (0.1);
                    confer with F. He re: same (0.1); draft correspondence
                    to B. Silverberg and Equity Committee counsel re:
                    Plan supplement (0.1).

15 December 2023    Calls with J. Zakia (W&C) re: Plan issues (0.7); further   D Turetsky            2.70            4,725.00
                    analysis re: Plan issues (0.6); call with D. Guyder, J.
                    Herz (Allen & Overy), D. Baddley (SEC), and R.
                    Kampfner, R. Szuba (W&C) re: Plan issues (0.8); calls
                    with R. Kampfner (W&C) re: Plan issues (0.4); call with



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                    D. Kim, R. Szuba, R. Kampfner and F. He (W&C) re:
                    Plan issues and strategy (0.2).

15 December 2023    Confer with D. Turetsky re: Plan issues.                     J Zakia               0.70            1,225.00

15 December 2023    Revise Plan, including changes to Plan re: 510(b) and        R Kampfner            2.90            4,611.00
                    Foxconn settlements (1.7); call with Foxconn, SEC and
                    D. Turetsky re: same (0.8); further calls with D.
                    Turetsky re Plan issues (0.4).

15 December 2023    Confer with government counsel re: language for              F He                  0.30                393.00
                    confirmation order (0.1) and revise language (0.2).

15 December 2023    Call with R. Kampfner, R. Szuba re: Plan modifications       D Kim                 1.50            1,905.00
                    and related strategies (0.2); revise background and
                    case update sections of draft confirmation brief (1.3).

15 December 2023    Attend call re: Plan with D. Baddley (SEC), counsel to       R Szuba               1.30            1,482.00
                    Foxconn (D. Guyder and J. Herz), and D. Turetsky and
                    R. Kampfner (0.8); revise confirmation hearing notice
                    (0.2); correspond with F. He and D. Kim (W&C) re:
                    same (0.1); attend case strategy call with D. Turetsky,
                    R. Kampfner, and F. He (W&C) (0.2).

16 December 2023    Further analysis re: Plan voting issues (0.2); emails to     D Turetsky            0.30                525.00
                    D. Kim (W&C) re: same (0.1).

17 December 2023    Call with J. Zakia (W&C) re: Plan issues (0.2); further      D Turetsky            0.40                700.00
                    analysis re: Plan issues (0.2).

17 December 2023    Modify Plan      to   include   Foxconn     and    510(b)    R Kampfner            3.70            5,883.00
                    settlements.

18 December 2023    Calls with J. Zakia (W&C) re: Plan issues (0.2); further     D Turetsky            4.20            7,350.00
                    review and comment re: Plan (2.1); call with D.
                    Ninivaggi (Lordstown) re: Plan issues (0.1); email to D.
                    Kim (W&C) re: Plan issues (0.1); call with D. Kim
                    (W&C) re: Plan issues (0.1); calls with R. Kampfner
                    (W&C) re: Plan issues (0.2); calls with M. Leonard
                    (Lordstown) re: Plan issues (0.1); call with A. Estrada
                    (KCC) and D. Kim (W&C) re: Plan voting issues (0.2);
                    partial call with W&C team (R. Kampfner, D. Kim, F.
                    He, R. Szuba) re: Plan issues (0.7); further analysis re:
                    Plan issues (0.4).

18 December 2023    Review draft Plan documents (0.4) and discuss with           J Zakia               1.20            2,100.00
                    securities plaintiffs (0.6); call with D. Turetsky re Plan
                    issues (0.2).

18 December 2023    Review and revise Plan re: comments from D.                  R Kampfner            4.20            6,678.00
                    Turetsky (1.5); calls with D. Turetsky re Plan matters
                    (0.2); attend internal call with D. Turetsky, R. Szuba
                    and others re: Plan issues (1.0); review various
                    miscellaneous plan issues (0.5); call with Mr. Etkin re:
                    Plan implementation of 510(b) settlement (1.0).

18 December 2023    Call with D. Turetsky, R. Kampfner and R. Szuba re:          F He                  1.50            1,965.00
                    Plan comments, voting issues and other related issues



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                    (1.1); confer with government counsel re: language for
                    confirmation order and revise language (0.2); research
                    and confer with D. Kim re: Plan issues (0.2).

18 December 2023    Review/comment on draft declaration of D. Ninivaggi in       D Kim                 4.20            5,334.00
                    support of confirmation (0.8); review/comment draft
                    declaration of A. Kroll in support of confirmation (0.6);
                    review/comment draft declaration of J. Finger in
                    support of confirmation (0.5); call with A. Estrada, R.
                    Kampfner, D. Turetsky re: certain voting issues (0.2);
                    correspond with A. Estrada re: summary of same (0.2);
                    review and analyze certain claims related to voting
                    results (0.4); call with D. Turetsky re Plan issues (0.1);
                    revise Plan checklist (0.3); team call with R. Kampfner,
                    F. He, R. Szuba, D. Turetsky re: Plan comments,
                    voting issues and other related issues (1.1).

18 December 2023    Attend strategy call with D. Turetsky, R. Kampfner, F.       R Szuba               3.10            3,534.00
                    He, and D. Kim re: Plan and related issues (1.1); draft
                    correspondence to D. Turetsky re: Plan supplement
                    and Plan related issues (0.2); draft correspondence to
                    D. Kovsky-Apap re: Plan supplement and claims
                    reserve (0.1); review former D&O Plan issue (0.1);
                    draft correspondence to D. Kim and F. He (W&C) re:
                    same (0.1); draft declarations in support of
                    confirmation (0.7); draft correspondence to D. Turetsky
                    and W&C team re: same (0.1); draft first supplemental
                    Plan supplement notice (0.3); draft correspondence to
                    D. Turetsky and W&C team re: same (0.1); revise Plan
                    (0.2); draft correspondence to D. Turetsky re: same
                    (0.1).

19 December 2023    Calls with J. Zakia (W&C) re: Plan issues (0.3); email       D Turetsky            1.60            2,800.00
                    to D. Guyder (Allen & Overy) re: Plan issues (0.1);
                    emails to S. Riel (Young Conaway) re: Plan issues
                    (0.1); emails to D. Kim (W&C) re: Plan voting issues
                    (0.2); emails to D. Baddley (SEC) re: non
                    dischargeability motion issues (0.2); call with M.
                    Patterson (Womble) re: Plan issues (0.2); call with R.
                    Kampfner (W&C) re: Plan issues (0.1); further analysis
                    re: non-dischargeability issues (0.4).

19 December 2023    Call with D. Turetsky re: Plan issues.                       J Zakia               0.30                525.00

19 December 2023    Review voting issues re: Plan (0.3); call with D.            R Kampfner            0.40                636.00
                    Turetsky re Plan issues (0.1).

19 December 2023    Confer with government counsel re: language for              F He                  0.40                524.00
                    confirmation order (0.3) and revise language (0.1).

19 December 2023    Correspond with A. Estrada re: certain voting                D Kim                 0.80            1,016.00
                    extensions (0.1); review revised tracker re: extended
                    votes (0.2); correspond with D. Turetsky re: same
                    (0.2); review and revise Plan checklist (0.2);
                    correspond with F. He re: same (0.1).

19 December 2023    Draft correspondence to Foxconn re: second modified          R Szuba               1.70            1,938.00
                    first amended Plan (0.1); draft correspondence to
                    counsel to Creditors’ Committee re: same (0.1); draft
                    correspondence to counsel to Equity Committee re:



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                    same (0.1); draft correspondence to SEC re: same
                    (0.1); draft correspondence to counsel to Foxconn re:
                    new organizational documents (0.1); draft chart re:
                    Plan supplement status (0.3); draft correspondence to
                    M. Patterson and Womble team re: same (0.2);
                    correspond with R. Kampfner and D. Turetsky (W&C)
                    re: Plan (0.1); review correspondence from SEC re:
                    Plan comments (0.2); review Plan comments from D.
                    Ninivaggi (Lordstown) (0.1); draft and review
                    correspondence to counsel to Equity Committee re:
                    Plan      supplement     documents       (0.1);  draft
                    correspondence to J. Spreen (Lordstown) re: new
                    organizational documents (0.2).

20 December 2023    Call with J. Zakia (W&C) re: Plan issues (0.3); emails      D Turetsky            2.10            3,675.00
                    to F. He (W&C) re: government agency
                    Plan/confirmation order issues (0.2); emails to B.
                    Hackman (US Trustee) re: Plan objection issues (0.1);
                    emails to D. Guyder (Allen & Overy) re: Foxconn Plan
                    issues (0.1); calls with R. Kampfner (W&C) re: Plan
                    issues (0.3); emails to Brown Rudnick (R. Stark and B.
                    Silverberg) re: Plan issues (0.2); emails to J. Zakia
                    (W&C) re: Plan issues (0.1); emails to R. Szuba
                    (W&C) re: Plan issues (0.2); further analysis re: Plan
                    issues (0.4); call with D. Ninivaggi (Lordstown) re: Plan
                    issues (0.2).

20 December 2023    Confer with D. Turetsky re: Plan issues (0.3); review       J Zakia               1.40            2,450.00
                    revised Plan documents (1.1).

20 December 2023    Call with Creditors' Committee professionals re: SEC        R Kampfner            3.60            5,724.00
                    negotiations (1.0); review SEC bar date issues (0.4);
                    review of Plan comments re: potential SEC settlement
                    (0.8); review and comment of confirmation order (0.7)
                    and Plan documents (0.4); call with D. Turetsky re
                    Plan issues (0.3).

20 December 2023    Confer with government counsel re: language for             F He                  2.00            2,620.00
                    confirmation order and revise language (0.3); confer
                    with D. Turetsky re: same (0.2); confer with
                    government counsel re: same (0.1); review and revise
                    confirmation brief (0.9); review revised Plan (0.5).

20 December 2023    Review correspondence re: potential US Trustee Plan         R Szuba               0.90            1,026.00
                    objection (0.2); review new organizational documents
                    (0.2); draft correspondence to J. Spreen re: same
                    (0.1); draft correspondence to Equity Committee
                    counsel and DE local counsel re: Plan supplement
                    (0.1); draft correspondence to D. Turetsky and R.
                    Kampfner re: Plan supplement (0.1); review comments
                    to Plan from SEC and Company (0.2).

21 December 2023    Call with D. Baddley (SEC) re: SEC Plan issues (0.4);       D Turetsky            2.40            4,200.00
                    calls with J. Zakia (W&C) re: Plan issues (0.9); emails
                    to D. Ninivaggi (Lordstown) re: Plan issues (0.2);
                    review equity committee Plan comments (0.1) and
                    retained causes of action comments (0.1); emails to R.
                    Kampfner (W&C) re: same (0.1); review and comment
                    re: equity committee correspondence re: Plan (0.1);
                    call with R. Szuba (W&C) re: Plan issues (0.1); further
                    calls with R. Kampfner (W&C) re: Plan issues (0.4).



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21 December 2023    Confer with D. Turetsky re: plan issues.                    J Zakia               0.90            1,575.00

21 December 2023    Calls with D. Turetsky re: 510(b) settlement plan           R Kampfner            0.40                636.00
                    issues.

21 December 2023    Confer with M. Port, A. Kroll (Company) and S. Kohler       F He                  1.60            2,096.00
                    (Silverman) re: various Plan issues (0.5); confer with
                    C. Tsitsis (Silverman) re: Plan effective date issues
                    (0.3); further draft and revise confirmation brief (0.8).

21 December 2023    Review new organizational documents (0.2); draft            R Szuba               1.70            1,938.00
                    analysis re: same (0.1); correspond with J. Spreen
                    (Lordstown) re: same (0.2); correspond with R.
                    Kampfner and D. Turetsky (W&C) re: same (0.1);
                    review Plan comments from Ohio Plaintiffs (0.2); draft
                    correspondence to B. Silverberg (Equity Committee)
                    re: Plan comments (0.2); review Plan comments from
                    Equity Committee (0.2); review retained causes of
                    action Plan supplement comments from Equity
                    Committee (0.2); draft correspondence to J. Zakia, D.
                    Turetsky (W&C) re: same (0.1); review litigation trust
                    agreement (0.2).

22 December 2023    Calls with J. Zakia (W&C) re: Plan issues (0.7); calls      D Turetsky            1.40            2,450.00
                    with R. Kampfner (W&C) re: Plan issues (0.2); emails
                    to W&C team (R. Szuba and others) re: Plan issues
                    (0.3); call with R. Szuba (W&C) re: Plan issues (0.1);
                    call with F. He (W&C) re: Plan issues (0.1).

22 December 2023    Confer with D. Turetsky re: Plan strategy (0.7); confer     J Zakia               0.80            1,400.00
                    with D. Turetsky re: Plan timing matters (0.1).

22 December 2023    Call with Creditors’ Committee re: confirmation of Plan     R Kampfner            0.90            1,431.00
                    (0.7); calls with D. Turetsky and J. Zakia re: same
                    (0.2).

22 December 2023    Confer with D. Turetsky (0.1); re: plan issues (0.1).       F He                  0.20                262.00

22 December 2023    Correspond with A. Estrada (KCC) re: revised voting         D Kim                 1.30            1,651.00
                    report and summary (0.2); confer with F. He, R. Szuba
                    re: first Plan supplement (0.2); review drafts of
                    documents re: same (0.6); review and revise Plan
                    checklist and workstreams (0.3).

22 December 2023    Draft   Plan  supplement    tracker (0.1); draft            R Szuba               0.20                228.00
                    correspondence to D. Turetsky and W&C team re:
                    same (0.1).

23 December 2023    Further analysis re: Lordstown Plan matters.                D Turetsky            0.20                350.00

24 December 2023    Call with R. Stark (Brown Rudnick) re: Plan issues          D Turetsky            0.70            1,225.00
                    (0.3); call with D. Detweiler (Womble) re: Plan issues
                    (0.1); calls with R. Kampfner (W&C) re: Plan issues
                    (0.2); calls with J. Zakia (W&C) re: Plan issues (0.1).

26 December 2023    Calls with J. Zakia (W&C) re: Plan issues (0.6); call       D Turetsky            1.30            2,275.00
                    with R. Kampfner (W&C) re: Plan issues (0.2); further
                    analysis re: Plan issues (0.5).



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26 December 2023    Calls with D. Turetsky re: Plan status and timing (0.5);    J Zakia               1.30            2,275.00
                    review revised Plan documents (0.8).

26 December 2023    Review SEC comments to Plan (0.7); review Foxconn           R Kampfner            4.90            7,791.00
                    comments to Plan (1.6); review Equity Committee
                    comments to Plan (1.7); revise Plan (0.7); call with D.
                    Turetsky re Plan issues (0.2).

26 December 2023    Call with R. Kampfner (W&C) re: Plan issues and Plan        R Szuba               2.10            2,394.00
                    Supplement issues (0.4); draft Plan supplement notice
                    (0.4) and Plan supplement documents (1.0); review
                    issues re: Plan and confirmation order (0.3).

27 December 2023    Calls with J. Zakia (W&C) re: Plan issues (1.0); calls      D Turetsky            3.70            6,475.00
                    with R. Kampfner (W&C) re: Plan issues (0.4); call with
                    R. Stark (Brown Rudnick) re: Plan issues (0.2); calls
                    with R. Szuba (W&C) re: Plan issues (0.2); call with D.
                    Kovsky-Apap (Troutman) and J. Zakia (W&C) re: Plan
                    issues (0.3); calls with D. Baddley (SEC) re: Plan
                    issues (0.6); call with D. Ninivaggi (Lordstown) re: Plan
                    issues (0.6); further call with D. Kovsky-Apap
                    (Troutman), F. Lawall (Troutman) and D. Ninivaggi
                    (Lordstown) re: Plan issues (0.4).

27 December 2023    Confer with Creditors’ Committee counsel and D.             J Zakia               1.30            2,275.00
                    Turetsky re: Plan confirmation discovery (0.3); confer
                    with D. Turetsky re: Plan/litigation strategy matters
                    (1.0).

27 December 2023    Review SEC-related plan issues (0.7); review plan           R Kampfner            3.10            4,929.00
                    issues re: 510(b) claimants (0.7); further analysis re
                    additional Plan issues (1.3); calls with D. Turetsky re
                    Plan issues (0.4).

27 December 2023    Call with D. Kim and R. Szuba re: Plan issues and           F He                  3.00            3,930.00
                    strategy (0.3); confer with D. Turetsky re: Plan issues
                    (0.5); confer with NHTSA re: Plan issues (0.3); confer
                    with D. Turetsky re: same (0.4); confer with SEC re:
                    confirmation order issues (0.5); confer with NHTSA re:
                    Plan issues (0.2); confer with R. Szuba and D.
                    Turetsky re: business issues per M. Leonard (0.3);
                    research re: same (0.5).

27 December 2023    Call with F. He, R. Szuba re: pending Plan                  D Kim                 2.20            2,794.00
                    confirmation related issues (0.3); further review and
                    revise draft confirmation brief (1.4); review proposed
                    changes to Plan and confirmation order from SEC
                    (0.3); analyze correspondence from SEC and DOJ re:
                    Plan issues (0.1); correspond with R. Szuba, F. He re:
                    same (0.1).

27 December 2023    Attend plan and plan supplement call with F. He and         R Szuba               4.10            4,674.00
                    D. Kim (W&C) (0.3); review correspondence from M.
                    Leonard (Lordstown) re: sec comments to Plan (0.2);
                    draft correspondence to D. Turetsky (W&C) re: same
                    (0.2); draft correspondence to D. Ninivaggi and M.
                    Leonard (Lordstown) re: Plan and Plan comments
                    (0.3); revise Plan (0.8); draft correspondence to SEC
                    re: extension of Plan objection and bar date deadlines
                    (0.2); call with D. Turetsky (W&C) re: new



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                    organizational docs, SEC, and Plan comments (0.2);
                    draft correspondence to D. Turetsky and R. Kampfner
                    (W&C) re: new organizational documents (0.2); draft
                    correspondence to J. Spreen re: same (0.2); draft
                    correspondence to D. Kovsky-Apap and F. Lawall re:
                    Plan (0.2); draft correspondence to B. Silverberg and
                    counsel to Equity Committee re: same (0.2); draft
                    correspondence to D. Kovsky-Apap re: claims reserve
                    analysis (0.1); draft correspondence to counsel to
                    Foxconn re: revised Plan (0.2); draft correspondence
                    to counsel to Ohio Plaintiffs re: revised Plan (0.2);
                    confer with F. He (W&C) re: government confirmation
                    order language (0.2); draft correspondence to F. He
                    (W&C) re: same (0.1); draft retained causes of action
                    schedule revisions (0.1); draft correspondence to D.
                    Turetsky and J. Zakia (W&C) re: same (0.1); draft
                    correspondence to SEC re: Plan comments and
                    timeline (0.1).

28 December 2023    Calls with J. Zakia (W&C) re: Plan issues (0.6); call        D Turetsky            2.50            4,375.00
                    with R. Kampfner (W&C) re: Plan issues (0.2); call with
                    D. Baddley (SEC), E. Sleights (US Government), R.
                    Szuba (W&C) and R. Kampfner (W&C) re: Plan issues
                    (0.7); email to E. Sleights (US) re: Plan issues (0.1);
                    emails to D. Ninivaggi (Lordstown) re: US government
                    Plan issues (0.2); further analysis re: Plan issues (0.7).

28 December 2023    Review litigation trust agreement (0.6) and revised          J Zakia               1.60            2,800.00
                    Plan documents (0.5); confer with D. Turetsky re: plan
                    matters (0.6).

28 December 2023    Work on Plan supplement and related issues (1.6); call       R Kampfner            2.00            3,180.00
                    with D. Turetsky re Plan issues (0.2); call with R.
                    Szuba re Plan supplement issues (0.2).

28 December 2023    Call with D. Kim and R. Szuba re: plan issues (0.3);         F He                  1.20            1,572.00
                    confer with S. Kohler (Silverman) re: various Plan
                    issues (0.5); confer with M. Leonard re: various Plan
                    effective date issues (0.4).

28 December 2023    Call with R. Szuba, F. He re: Plan supplement and            D Kim                 0.30                381.00
                    status of other documents re: confirmation.

28 December 2023    Attend Plan strategy/document open issues call with F.       R Szuba               5.30            6,042.00
                    He and D. Kim (W&C) (0.3); review Plan, Disclosure
                    Statement, and Confirmation Order for provisions re:
                    RSU treatment and tax consequences (0.3); draft
                    correspondence to F. He re: same (0.2); draft
                    correspondence to counsel to SEC and NHTSA re:
                    Plan (0.1); attend call with D. Turetsky, R. Kampfner,
                    counsel to SEC and counsel to NHTSA re: Plan (0.6);
                    draft Plan and confirmation order insert re: SEC and
                    NHTSA language (0.2); call with R. Kampfner re: Plan
                    supplement filing (0.2); draft correspondence to
                    counsel to Committees re: SEC stipulation (0.2); draft
                    correspondence to counsel to SEC re: same (0.2);
                    revise same (0.1); revise Plan supplement notice (0.4);
                    correspond with J. Spreen re: new organizational
                    documents (0.3); prepare same for inclusion in Plan
                    supplement (0.4); draft correspondence to D. Ninivaggi
                    (Lordstown) and company re: Plan supplement (0.3);



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                    draft correspondence to D. Detweiler and Womble
                    team re: Plan supplement filing (0.2); draft
                    correspondence to Committees re: same (0.2);
                    prepare Plan supplement status chart (0.5); revise
                    retained causes of action Plan supplement (0.2);
                    prepare same for inclusion in Plan supplement (0.1);
                    draft correspondence to R. Kampfner and J. Zakia
                    (W&C) re: same (0.1); draft correspondence to J.
                    Cushing (Brown Rudnick) re: new organizational
                    documents (0.1); draft correspondence to counsel to
                    Foxconn re: same (0.1).

29 December 2023    Call with R. Kampfner (W&C) and J. Zakia (W&C) re:           D Turetsky            0.40                700.00
                    Plan issues (0.2); further analysis re: Plan issues (0.2).

29 December 2023    Review revised Plan documents and plaintiffs'                J Zakia               1.00            1,750.00
                    comments (0.8); confer with R. Kampfner and D.
                    Turetsky re: plan issues (0.2).

29 December 2023    Review issues re: Plan supplement (3.0); call with D.        R Kampfner            3.80            6,042.00
                    Turetsky and J. Zakia re: Plan matters (0.2); call with
                    Foxconn re: same (0.6).

29 December 2023    Confer with NHTSA re: confirmation order language            F He                  0.60                786.00
                    (0.2); confer with Equity Committee re: same (0.3);
                    confer with Creditors’ Committee re: same (0.1).

29 December 2023    Revise draft notice for first Plan supplement (0.1);         D Kim                 0.40                508.00
                    correspond and coordinate with R. Szuba and F. He
                    re: status of Plan supplement documents (0.2);
                    correspondence with D. Detweiler, D. Turetsky re:
                    same (0.1).

29 December 2023    Attend call with R. Kampfner and counsel to Foxconn          R Szuba               1.60            1,824.00
                    re: Plan and related issues (0.6); call with J. Cushing
                    (Brown Rudnick) re: contract rejections pursuant to
                    Plan and confirmation order issues (0.2); review
                    comments to confirmation order from Equity
                    Committee (0.2); prepare Plan supplement for filing
                    (0.2); draft correspondence to company and
                    Committees re: same (0.2); call with R. Kampfner
                    (W&C) re: Plan supplement (0.2); [draft and review
                    rejected contracts schedule (0.2)] [MOVE TO
                    CONTRACT MATTER].

30 December 2023    Review and analysis re: Labaton Plan comments (0.4);         D Turetsky            0.60            1,050.00
                    email to J. Zakia (W&C) and R. Kampfner (W&C) re:
                    Labaton Plan issues (0.2).

30 December 2023    Review Plan comments from Section 510(b) claimants           R Kampfner            4.10            6,519.00
                    (1.5); review and comment on confirmation brief (1.7)
                    and related declarations (0.9).

30 December 2023    Confer with NHTSA re: confirmation order language            F He                  0.20                262.00
                    (0.1); confer with Creditors’ Committee re: same (0.1).

31 December 2023    Further analysis re: Plan issues.                            D Turetsky            0.20                350.00




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31 December 2023       Review Plan comments by 510(b) claimants (0.6) and        R Kampfner            2.10            3,339.00
                       revise Plan in connection with same (1.5).

SUBTOTAL: Exclusivity, Plan & Disclosure Statement                                                   294.30          425,596.00


Executory Contracts & Unexpired Leases
1 December 2023        Draft motion to assume certain contracts for post-        P Strom               1.70            1,632.00
                       effective date debtors.

2 December 2023        Draft motion to assume certain contracts for post-        P Strom               0.50                480.00
                       effective date debtors.

4 December 2023        Review and revise motion to assume contracts (0.4);       F He                  1.70            2,227.00
                       confer with P. Strom re: same (0.5); confer with M.
                       Port re: same (0.1); confer with A. Crnkovich re: same
                       (0.1); review contracts (0.4) and confer with M.
                       Leonard re: rejection issues (0.2).

4 December 2023        Confer with F. He re: rejection/assumption of certain     R Szuba               0.50                570.00
                       counterparty agreements (0.2); research re: same
                       (0.1); analysis re: assumption procedure (0.1); confer
                       with F. He re: same (0.1).

5 December 2023        Conduct further analysis re: contract assumption          D Turetsky            0.30                525.00
                       issues (0.2); email: to R. Szuba (W&C) and F. He
                       (W&C) re: contract assumption issues (0.1).

5 December 2023        Review contract assumption list (0.2); revise motion to   F He                  3.00            3,930.00
                       assume (0.5); confer with M. Port (Company) re:
                       assumption list (0.4); confer with A. Crnkovich
                       (Silverman) re: same (0.3); confer with S. Kohler
                       (Silverman) re: same (0.4); confer with S. Kohler, A.
                       Crnkovich and E. Hammes (Silverman) re: same (0.3);
                       confer with R. Szuba re: same (0.5); confer with M.
                       Patterson re: same (0.4).

5 December 2023        Confer with F. He re: rejection/assumption of certain     R Szuba               1.60            1,824.00
                       counterparty agreements (0.2); research re: same
                       (0.1); prepare contract assumption schedule for filing
                       (0.3); draft correspondence to A. Kroll and M. Port re:
                       assumption filing (0.1); draft correspondence to D.
                       Kovsky      re:   assumption motion        (0.3); draft
                       correspondence to B. Silverberg, R. Winning, and R.
                       Stark     re:    assumption    motion     (0.2);  draft
                       correspondence to D. Turetsky and F. He re:
                       assumption motion and filing (0.2); correspond with M.
                       Patterson and Womble re: assumption motion filing
                       (0.2).

6 December 2023        Calls with C. Tsitsis (Silverman) re: assumed contract    F He                  0.90            1,179.00
                       issues (0.5); confer with M. Patterson (Womble) re:
                       assumption of agreement issues (0.2); confer with C.
                       Tsitsis (Silverman) re: same (0.2).

8 December 2023        Confer with D. Turetsky re: ETrade agreement issues       F He                  0.50                655.00
                       (0.3); further follow-up re: same (0.2).




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9 December 2023     Emails to M. Leonard (Lordstown) re: ETRADE                 D Turetsky            0.60            1,050.00
                    agreement (0.2); further analysis re: issues re:
                    ETRADE agreement (0.2); further analysis re: issues
                    re: executory contract assumption motion (0.2).

11 December 2023    Email to F. He (W&C) re: ETRADE contract issues             D Turetsky            0.20                350.00
                    (0.1); email to F. He (W&C) re: executory contract
                    assumption order (0.1).

11 December 2023    Confer with A. Kroll re: Etrade contract issues (0.2);      F He                  1.30            1,703.00
                    confer with D. Turetsky re: same (0.1); research re:
                    same (0.2); confer with M. Patterson (Womble) re:
                    assumption of contract issues (0.2); confer with D.
                    Turetsky re: same (0.2); confer with Equity Committee
                    re: same (0.3); confer with Creditors’ Committee re:
                    same (0.1).

12 December 2023    Confer with contract counterparty re: assumption            F He                  1.10            1,441.00
                    issues (0.3); confer with M. Port (Company) and S.
                    Kohler (Silverman) re: same (0.1); confer with D.
                    Turetsky re: same (0.2); discuss with M. Port
                    (Company) re: vendor issues re: assumption (0.3);
                    confer with D. Turetsky re: same (0.2).

12 December 2023    Correspond with F. He (W&C) re: E*Trade issue (0.2);        R Szuba               0.50                570.00
                    draft analysis to M. Port re: Plan provisions relevant to
                    same (0.3).

13 December 2023    Further analysis re: ETRADE contract issues (0.2);          D Turetsky            0.30                525.00
                    email to D. Kim (W&C) re: contract assumption issues
                    (0.1).

13 December 2023    Confer with A. Kroll re: assumption issues (0.3); review    F He                  1.10            1,441.00
                    and confer with E. Hammes (Silverman) re: same
                    (0.3); confer with M. Patterson (Womble) re:
                    assumption motion (0.2); confer with R. Szuba re:
                    same (0.3).

13 December 2023    Review and provide comments to draft motion to reject       D Kim                 0.60                762.00
                    unexpired real property lease and abandonment of
                    certain personal property.

13 December 2023    Call with E. Hammes (Silverman) and S. Kohler re:           R Szuba               2.20            2,508.00
                    assumption of TERIS contract and cure dispute (0.2);
                    draft correspondence to E. Hammes re: same (0.1);
                    confer with F. He re: same (0.1); draft correspondence
                    to counsel to TERIS re: same (0.2); call with counsel to
                    TERIS re: same (0.2); review correspondence with
                    counsel to TERIS (0.2); draft language for assumption
                    order re: post-petition amounts (0.3); correspond with
                    D. Turetsky and W&C team re: same (0.1); correspond
                    with counsel to Committees re: same (0.2); draft
                    correspondence to A. Crnkovich and Silverman team
                    re: Paylocity and other assumed agreements (0.1); call
                    with M. Patterson re: assumption order (0.3); confer
                    with F. He re: rejection motion (0.2).

13 December 2023    Draft motion to reject Farmington Hills and Lordstown       P Strom               1.80            1,728.00
                    leases.



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14 December 2023    Confer with E. Hammes (Silverman) re: assumption           F He                  1.30            1,703.00
                    issues and research re: same (0.5); confer with M.
                    Patterson (Womble) re: assumption order issues (0.3);
                    confer with R. Szuba re: same (0.2); confer with A.
                    Crnkovich (Silverman) re: rejection motion issues (0.3).

14 December 2023    Confer with F. He re: assumption motion (0.2);             R Szuba               1.00            1,140.00
                    correspond with counsel to contract counterparty re:
                    same (0.2); prepare assumption order and CoC for
                    lodging (0.1); call with A. Crnkovich re: rejection
                    motion (0.1); review documents re: same (0.1); draft
                    and review correspondence to A. Crnkovich and F. He
                    re: same (0.1); draft language re: post-petition
                    amounts for assumption order (0.2).

15 December 2023    Draft correspondence and analysis to E. Hammes and         R Szuba               1.80            2,052.00
                    Silverman team re: contract assumptions and
                    rejections (0.3); review master assumption rejection
                    tracker (0.3); confer with F. He re: same (0.1);
                    correspond with F. He re: issues re: assumptions (0.2);
                    revise second omnibus rejection motion (0.9).

18 December 2023    Review and confer with A. Crnkovich re: assumption         F He                  0.70                917.00
                    motion schedule (0.5); confer with R. Szuba re: same
                    (0.2).

18 December 2023    Call with F. He re: rejection and assumption issues        R Szuba               0.50                570.00
                    (0.2); review issue re: rejection of SOW (0.1); draft
                    correspondence to D. Kovsky and B. Silverberg re:
                    assumption      order     language     (0.1);   draft
                    correspondence to E. Hammes re: rejection schedule
                    (0.1).

19 December 2023    Review rejection motion schedule (0.4); confer with R.     F He                  1.00            1,310.00
                    Szuba re: same (0.1); prepare email memo to
                    company re: vendor assumption issues (0.5).

19 December 2023    Draft second omnibus rejection motion (0.2); revise        R Szuba               1.60            1,824.00
                    second omnibus rejection schedule (0.2); confer with
                    F. He (W&C) re: same (0.1); draft correspondence to
                    Committees re: same (0.1); draft correspondence to
                    Womble re: same (0.1); draft correspondence to E.
                    Hammes       and    Silverman    team   re:  master
                    rejections/assumption schedule and claims reserve
                    amount (0.2); draft correspondence to counsel to
                    counterparty re: assumption language (0.1); revise
                    assumption order re: same (0.1); review master
                    assumption / rejection schedule (0.5).

20 December 2023    Review assumption order and correspond with M.             R Szuba               0.20                228.00
                    Patterson re: same (0.1); draft correspondence to F.
                    He re: assumption issue (0.1).

21 December 2023    Confer with D. Turetsky re: eTrade agreement issues        F He                  0.70                917.00
                    (0.4); confer with R. Winning (M3) re: same (0.3).

21 December 2023    Draft correspondence to Committees re: second              R Szuba               0.50                570.00
                    omnibus rejection motion (0.1); confer with F. He re:
                    same (0.1); draft correspondence to E. Hammes and



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                      Silverman team re: same (0.3).

22 December 2023      Finalize rejection motion for filing (0.2); draft           R Szuba               0.40                456.00
                      correspondence to Womble re: same (0.1); confer with
                      F. He re: same (0.1).

28 December 2023      Draft schedule of rejected contracts (0.2); draft           R Szuba               0.40                456.00
                      correspondence to D. Turetsky and R. Kampfner
                      (W&C) re: same (0.2).

29 December 2023      Email to R. Szuba (W&C) and F. He (W&C) re:                 D Turetsky            0.10                175.00
                      contract rejection issues.

SUBTOTAL: Executory Contracts & Unexpired Leases                                                       30.60           37,418.00


Hearings & Court Matters
8 December 2023       Email to D. Ninivaggi (Lordstown) re: hearing issues        D Turetsky            0.30                525.00
                      (0.1); call with M. Patterson (Womble) re: hearing
                      issues (0.2).

11 December 2023      Email to M. Patterson (Womble) re: hearing issues           D Turetsky            0.20                350.00
                      (0.1); call with M. Patterson (Womble) re: confirmation
                      scheduling issues (0.1).

12 December 2023      Call with D. Detweiler (Womble) re: confirmation            D Turetsky            0.20                350.00
                      hearing issues (0.1); call with D. Kovsky-Apap
                      (Troutman) re: confirmation hearing issues (0.1).

15 December 2023      Review and provide comments to draft hearing agenda         D Kim                 0.30                381.00
                      (0.2); correspond with F. He re: same (0.1).

SUBTOTAL: Hearings & Court Matters                                                                      1.00            1,606.00


Insurance Issues
1 December 2023       Confer with co-counsel and client re: insurance             J Zakia               1.50            2,625.00
                      response in connection with certain D&O insurance
                      claims (0.6); multiple calls with coverage counsel re:
                      Hudson response (0.5); draft response to Hudson re:
                      insurance coverage (0.4).

2 December 2023       Revise reponse to Hudson (0.2); confer with Aon re:         J Zakia               0.40                700.00
                      same (0.2).

19 December 2023      Confer with client re: D&O insurance issues.                J Zakia               0.40                700.00

21 December 2023      Confer with insurers re: potential settlement of            J Zakia               1.20            2,100.00
                      insurance issues (0.5); confer with client re: settlement
                      status (0.7).

SUBTOTAL: Insurance Issues                                                                              3.50            6,125.00


Litigation


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1 December 2023    Call with J. Zakia (W&C) re: securities litigation             D Turetsky            1.30            2,275.00
                   settlement/SEC issues (0.3); meet/confer with J. Zakia
                   (W&C) re: SEC/securities settlement issues (0.6); call
                   with S. Vasser (Dechert) re: DiamondPeak litigation
                   issues (0.1); further analysis re: securities litigation
                   settlement/SEC issues (0.3).

1 December 2023    Review Foxconn and comment on reply in support of              J Zakia               4.80            8,400.00
                   motion to dismiss and caselaw cited therein (2.3);
                   multiple conferences with directors' counsel re:
                   securities litigation settlement (1.1); confer with D.
                   Turetsky re: litigation strategy (0.6); confer with client
                   re: litigation strategy (0.8).

4 December 2023    Call with B. Silverberg (Brown Rudnick) re: securities         D Turetsky            0.30                525.00
                   litigation settlement/SEC issues (0.2); email to B.
                   Silverberg (Brown Rudnick), R. Stark (Brown Rudnick),
                   and M. Winograd (Brown Rudnick) re: securities
                   litigation settlement/SEC issues (0.1).

4 December 2023    Call with opposing counsel re: DiamondPeak securities          J Zakia               1.40            2,450.00
                   settlement (0.5); call with directors' counsel re:
                   settlement (0.4); confer with client re: litigation strategy
                   (0.5).

5 December 2023    Conduct further analysis re: securities litigation             D Turetsky            0.90            1,575.00
                   settlement issues (0.2); call with B. Silverberg (Brown
                   Rudnick) and R. Stark (Brown Rudnick) re: securities
                   litigation/SEC issues (0.7).

5 December 2023    Confer with opposing counsel re: DiamondPeak                   J Zakia               0.40                700.00
                   securities settlement.

6 December 2023    Call with J. Zakia (W&C) re: securities litigation             D Turetsky            0.40                700.00
                   settlement/SEC issues (0.2); calls with J. Zakia (W&C)
                   re: securities litigation/SEC settlement issues (0.2).

7 December 2023    Confer with client re: litigation strategy (0.6); confer       J Zakia               1.10            1,925.00
                   with directors' counsel re: litigation settlement (0.5).

8 December 2023    Review DiamondPeak issues.                                     D Turetsky            0.20                350.00

8 December 2023    Multiple calls with D. Turetsky re: SEC claim/litigation       J Zakia               1.40            2,450.00
                   settlement issues (0.3); confer with Creditors’
                   Committee counsel re: settlement update (0.4); calls
                   with directors' counsel re: settlement (0.7).

9 December 2023    Calls with J. Zakia (W&C) re: securities                       D Turetsky            0.90            1,575.00
                   litigation/settlement    issues        (0.5);     further
                   research/analysis re: securities class/settlement issues
                   (0.4).

9 December 2023    Confer       with    D.    Turetsky     re:    securities      J Zakia               2.40            4,200.00
                   litigation/settlement issues (0.5); confer with plaintiffs'
                   counsel re: settlement (0.5); review draft settlement
                   term sheet (0.6); confer with directors' counsel re:
                   settlement (0.4); confer with client re: securities
                   settlement (0.4).



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10 December 2023       Call with D. Turetsky re: Ohio litigation settlement           J Zakia               0.80            1,400.00
                       issues (0.2); call with plaintiffs' counsel re: Delaware
                       securities settlement (0.2); call with client re:
                       settlement (0.4).

11 December 2023       Confer with directors' counsel re: RIDE litigation.            J Zakia               0.50                875.00

12 December 2023       Confer with J. Zakia (W&C) re: DiamondPeak issues.             D Turetsky            0.20                350.00

12 December 2023       Confer with client re: litigation strategy (0.6); call with    J Zakia               0.80            1,400.00
                       D. Turetsky re DiamondPeak issues (0.2).

14 December 2023       Confer with directors' counsel re: DiamondPeak                 J Zakia               0.50                875.00
                       settlement.

15 December 2023       Confer with client re: litigation strategy.                    J Zakia               0.60            1,050.00

18 December 2023       Call with M. Etkin (Lowenstein), N. Zeiss, C. Villegas,        D Turetsky            0.50                875.00
                       and others (Labaton), and J. Zakia, R. Kampfner
                       (W&C) re: Ohio securities settlement.

18 December 2023       Calls with client re: litigation strategy.                     J Zakia               1.10            1,925.00

19 December 2023       Prepare for and participate in call with directors'            J Zakia               0.80            1,400.00
                       counsel and client re: Delaware litigation settlement
                       (0.5); confer with plaintiffs' counsel re: settlement (0.3).

20 December 2023       Confer with Equity Committee counsel re: case status           J Zakia               1.90            3,325.00
                       and settlement update (0.5); confer with client re:
                       litigation strategy (0.8); confer with counsel to directors
                       re: settlement status (0.6).

22 December 2023       Confer with client re: cases status/litigation strategy.       J Zakia               0.90            1,575.00

27 December 2023       Confer with client re: litigation strategy.                    J Zakia               0.80            1,400.00

28 December 2023       Confer with client re: litigation strategy.                    J Zakia               0.50                875.00

SUBTOTAL: Litigation                                                                                       25.40           44,450.00


Reports, Schedules & U.S. Trustee Issues
12 December 2023       Confer with M. Port, A. Kroll (Company) and C. Tsitsis         F He                  0.30                393.00
                       (Silverman) re: MOR issues.

18 December 2023       Review MOR and confer with D. Kim re: same.                    F He                  0.30                393.00

18 December 2023       Review draft amended August and October MOR for                D Kim                 0.70                889.00
                       LEVS re: intercompany transfer issue (0.3);
                       correspond with F. He re: same (0.1); review and
                       analyze draft November MOR for LEVS (0.1); review
                       and analyze draft November MOR for LEVC (0.1);
                       review and analyze draft November MOR for LMC
                       (0.1).




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19 December 2023      Finalize November MORs and amended August and             D Kim                 0.40                508.00
                      September MORs for LEVS (0.3); correspond with C.
                      Giobbe of WBD re: same (0.1).

SUBTOTAL: Reports, Schedules & U.S. Trustee Issues                                                    1.70            2,183.00


Employee Issues
11 December 2023      Email to M. Leonard (Lordstown) re: response to           D Turetsky            0.30                525.00
                      employee inquiry (0.1); call with M. Leonard
                      (Lordstown) re: employee claim issues (0.2).

15 December 2023      Call with T. Marnin (W&C) re: employee issues (0.1);      D Turetsky            0.20                350.00
                      further analysis re: employee issues (0.1).

20 December 2023      Comment re employment agreements related to               R Szuba               1.00            1,140.00
                      employee claim settlement (0.3); review settlement
                      term sheet re: employment agreements (0.2); draft
                      correspondence to J. Spreen re: same (0.2); review
                      Plan and confirmation order re: RSU issue (0.1); draft
                      correspondence to J. Spreen re: same (0.2).

22 December 2023      Draft correspondence to J. Spreen re: employee            R Szuba               0.30                342.00
                      agreements (0.1); draft correspondence to D. Turetsky
                      and W&C team re: same (0.1); draft correspondence
                      to counsel to Equity Committee re: approval of same
                      (0.1).

26 December 2023      Draft correspondence to counsel to Equity Committee       R Szuba               0.10                114.00
                      and D. Turetsky and Company re: employment
                      agreements.

27 December 2023      Call with M. Leonard (Lordstown) re: employee issues      D Turetsky            0.30                525.00
                      (0.1); call with F. He (W&C) re: employee issues (0.1);
                      emails to F. He (W&C) re: employee issues (0.1).

SUBTOTAL: Employee Issues                                                                             2.20            2,996.00



TOTAL                                                                                               495.40          692,738.00




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